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14                               UNITED STATES BANKRUPTCY COURT
                                 NORTHERN DISTRICT OF CALIFORNIA
15                                    SAN FRANCISCO DIVISION
16     In re:
                                                         Bankruptcy Case
17     PG&E CORPORATION,                                 No. 19-30088 (DM)
                                                         Chapter 11
18              - and -                                  (Lead Case)
                                                         (Jointly Administered)
19     PACIFIC GAS AND ELECTRIC
       COMPANY,                                          [PROPOSED] DISCLOSURE
20                                                       STATEMENT FOR DEBTORS’ AND
                           Debtors.
                                                         SHAREHOLDER PROPONENTS’ JOINT
21                                                       CHAPTER 11 PLAN OF
        Affects PG&E Corporation
        Affects Pacific Gas and Electric Company        REORGANIZATION
22
        Affects both Debtors
                                                         Dated: San Francisco, California
23                                                              March 16, 2020
       * All papers shall be filed in the Lead Case,
24     No. 19-30088 (DM)

25     THIS IS NOT A SOLICITATION OF ACCEPTANCE OR REJECTION OF THE PLAN.
       ACCEPTANCES OR REJECTIONS MAY NOT BE SOLICITED UNTIL THE
26     BANKRUPTCY COURT APPROVES A DISCLOSURE STATEMENT.             THIS
       DISCLOSURE STATEMENT IS BEING SUBMITTED FOR APPROVAL, BUT HAS NOT
27     YET BEEN APPROVED BY THE BANKRUPTCY COURT.
28

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 1
                                               EXHIBITS
 2

 3   EXHIBIT A    Debtors’ and Shareholder Proponents’ Joint Chapter 11 Plan of Reorganization
     EXHIBIT B    Financial Projections
 4

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     I.     INTRODUCTION
 1
             On January 31, 2020, PG&E Corporation (“PG&E Corp.” or “HoldCo”) and Pacific Gas and
 2
     Electric Company (the “Utility” and together with PG&E Corp., “PG&E” or the “Debtors”), and
 3   certain funds and accounts managed or advised by Abrams Capital Management, LP and certain funds
     and accounts managed or advised by Knighthead Capital Management, LLP (the “Shareholder
 4   Proponents” and, together with the Debtors, the “Plan Proponents”) filed the Debtors’ and
     Shareholder Proponents’ Joint Chapter 11 Plan of Reorganization Dated January 31, 2020 [Docket
 5   No. 5590] (as it may be amended, modified or supplemented, and together with any exhibits or schedules
     thereto, the “Plan”). This disclosure statement (as it may be amended, modified or supplemented, and
 6
     together with any exhibits or schedules hereto, the “Disclosure Statement”) is being provided to you in
 7   connection with the solicitation of votes to accept or reject the Plan. A copy of the Plan is annexed to
     this Disclosure Statement as Exhibit A. Unless otherwise defined herein, capitalized terms used in this
 8   Disclosure Statement have the meanings ascribed to such terms in the Plan.
 9          The Plan is supported by the following parties:
10              1. The Debtors;
11
                2. The Ad Hoc Committee of Senior Unsecured Noteholders of Pacific Gas and Electric
12                 Company, consisting of major holders of the Utility’s outstanding prepetition funded
                   debt claims (the “Ad Hoc Noteholders Committee”);
13
                3. The Ad Hoc Group of Subrogation Claim Holders, consisting of major holders of claims
14                 arising from insurance payments made to victims in connection with the wildfires
                   (the “Ad Hoc Subrogation Group”);
15
                4. Several Public Entities in the areas in which the wildfires occurred (the “Public
16
                   Entities”); and
17
                5. Certain major shareholders of PG&E Corp.
18
          THESE PARTIES BELIEVE THAT CONFIRMATION AND IMPLEMENTATION OF
19   THE PLAN IS THE FASTEST WAY FOR FIRE VICTIMS AND OTHER CLAIMANTS TO
     RECEIVE PAYMENTS ON THEIR CLAIMS, AND THAT IF THE PLAN IS NOT APPROVED
20   THOSE PAYMENTS WILL BE SIGNIFICANTLY DELAYED AND FIRE VICTIMS AND
21   OTHER CLAIMANTS MAY RECEIVE SIGNIFICANTLY LESS THAN WHAT THEY
     WOULD RECEIVE UNDER THE PLAN.
22
            It is important to note that (as described in more detail below) under the Plan, aggregate
23   consideration of $13.5 billion will be transferred to a trust to satisfy Fire Victim Claims (the “Fire
     Victim Trust”) as follows:
24
                1. $5.4 billion in Cash on the Effective Date of the Plan;
25
                2. An additional $1.35 billion in Cash, consisting of (i) $650 million to be paid in
26
                   Cash on or before January 15, 2021 pursuant to a Tax Benefits Payment Agreement,
27                 and (ii) $700 million to be paid in Cash on or before January 15, 2022 pursuant to
                   a Tax Benefits Payment Agreement;
28

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                3. $6.75 billion in common stock of Reorganized PG&E Corp. (using equity valued
 1                 using a multiple equal to 14.9 multiplied by the Normalized Estimated Net Income
 2                 as of a date to be agreed upon among the parties to the Tort Claimants RSA (defined
                   below)), representing not less than 20.9% of the outstanding common stock of
 3                 Reorganized PG&E Corp. as of the Effective Date;

 4                  THE $6.75 BILLION VALUE OF THE COMMON STOCK OF
                    REORGANIZED PG&E CORP. IS BASED ON A FORMULA SET FORTH
 5                  IN THE TORT CLAIMANTS RSA AND INCORPORATED IN THE PLAN.
 6                  THE $6.75 BILLION VALUE DOES NOT NECESSARILY REFLECT THE
                    ACTUAL VALUE OF THE STOCK TO BE HELD BY THE FIRE VICTIM
 7                  TRUST ON THE EFFECTIVE DATE AND THEREAFTER. THE ACTUAL
                    VALUE OF THE STOCK ON THE EFFECTIVE DATE AND
 8                  THEREAFTER COULD BE GREATER OR LESS THAN $6.75 BILLION
                    BASED ON THE FUTURE TRADING VALUE OF THE COMMON STOCK
 9                  OF REORGANIZED PG&E CORP.;
10
                4. The assignment to the Fire Victim Trust of certain claims that the Fire Victim Trust
11                 may pursue for the benefit of holders of Fire Victim Claims; and

12              5. The assignment of rights under the 2015 Insurance Policies to resolve any Claims
                   related to Fires in those policy years, other than the rights of the Debtors to be
13                 reimbursed under the 2015 Insurance Policies for claims submitted to and paid by
                   the Debtors prior to the Petition Date.
14
             Pursuant to the Plan, all Allowed Fire Victim Claims will be paid from the assets described above
15
     that will be transferred to the Fire Victim Trust. All Fire Victim Claims will be resolved and satisfied
16   by the Fire Victim Trust pursuant to claims resolution procedures to be adopted by the Fire Victim Trust.
     Although common stock of Reorganized PG&E Corp. is to be transferred to the Fire Victim Trust
17   pursuant to the Plan, NOTHING IN THE PLAN OR THE FIRE VICTIM TRUST AGREEMENT
     REQUIRES A FIRE VICTIM TO RECEIVE PAYMENT IN STOCK.
18
             The aggregate consideration of $13.5 billion described above to be contributed to the Fire Victim
19   Trust (plus the assigned claims) was determined by a settlement among the Debtors, the Shareholder
20   Proponents, the Official Committee of Tort Claimants (the “Tort Claimants Committee”) that has a
     fiduciary duty to represent the interests of all holders of Fire Victim Claims, other than the interests of
21   Governmental Units in the Chapter 11 Cases, and the law firms (the “Consenting Fire Claimant
     Professional Group”) that represent Fire Victims holding over 70% of the in excess of 70,000 fire
22   claims that have been filed. The sole source of recovery for holders of Fire Victim Claims is the Fire
     Victim Trust. Holders of Fire Victim Claims will not be able to otherwise pursue their claims against
23
     the Debtors, Reorganized PG&E, or their respective assets or properties.
24
          IF YOU ARE A FIRE VICTIM, PLEASE SEE THE ENCLOSED “FIRE VICTIM
25   CLAIM PLAN TREATMENT SUMMARY” FOR ADDITIONAL INFORMATION.
26           It is also important to note that the Plan Proponents believe that the Plan will enable the Debtors
27   to support California’s clean energy goals and ensure that PG&E has access to sufficient resources to
     aggressively invest in capital improvements and wildfire mitigation and to provide safe and reliable
28   service to its customers and communities.

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             Finally, the Plan Proponents believe that upon implementation of the Plan, PG&E will be able
 1   to participate in the recently authorized Go-Forward Wildfire Fund, which is designed to support the
 2   creditworthiness of California electrical corporations and provide a mechanism to attract capital for
     investment in safe, clean, and reliable power for California at a reasonable cost to ratepayers.
 3
          THE DEBTORS, THE AD HOC NOTEHOLDERS COMMITTEE, THE AD HOC
 4   SUBROGATION GROUP, THE PUBLIC ENTITIES, AND THE SHAREHOLDER
     PROPONENTS RECOMMEND THAT HOLDERS OF CLAIMS AND INTERESTS
 5   ENTITLED TO VOTE, VOTE TO ACCEPT THE PLAN AND RETURN THEIR BALLOTS BY
 6   THE VOTING DEADLINE (AS DEFINED BELOW) FOLLOWING THE METHODS SET
     FORTH BELOW.
 7
             A.    Notice to Creditors
 8
             The purpose of this Disclosure Statement is to set forth information that (i) summarizes the
 9   treatment of Claims and Interests under the Plan, including the treatment of Claims held by Fire Victims,
     (ii) advises holders of Claims and Interests of their rights under the Plan, (iii) assists parties entitled to
10
     vote on the Plan in making informed decisions as to whether they should vote to accept or reject the
11   Plan, and (iv) assists the Bankruptcy Court in determining whether the Plan complies with the provisions
     of chapter 11 of the Bankruptcy Code and should be confirmed. The Bankruptcy Court previously set
12   certain dates and deadlines with respect to approval of the Disclosure Statement and confirmation of the
     Plan by Order, dated February 11, 2020 [Docket No. 5732] (the “Scheduling Order”).
13
          IT IS THE OPINION OF THE PLAN PROPONENTS, THE AD HOC SUBROGATION
14   GROUP, AND THE PUBLIC ENTITIES THAT CONFIRMATION AND IMPLEMENTATION
15   OF THE PLAN IS IN THE BEST INTERESTS OF THE DEBTORS’ ESTATES, CREDITORS
     (INCLUDING ALL FIRE VICTIMS), AND SHAREHOLDERS.
16
          THEREFORE, THE DEBTORS, THE AD HOC NOTEHOLDERS COMMITTEE, THE
17   AD HOC SUBROGATION GROUP, THE PUBLIC ENTITIES, AND THE SHAREHOLDER
     PROPONENTS RECOMMEND THAT ALL CLAIMANTS AND SHAREHOLDERS, WHO
18   ARE ENTITLED TO VOTE, VOTE TO ACCEPT THE PLAN.
19
          BALLOTS FOR VOTING TO ACCEPT OR REJECT THE PLAN MUST BE
20   RECEIVED BY MAY 15, 2020 AT 4:00 P.M. (PREVAILING PACIFIC TIME) (THE “VOTING
     DEADLINE”). THE RECORD DATE FOR DETERMINING WHICH HOLDERS OF CLAIMS
21   AND INTERESTS MAY VOTE ON THE PLAN IS MARCH [●], 2020 (THE “RECORD
     DATE”).
22
           THE HEARING TO CONSIDER CONFIRMATION OF THE PLAN
23   (THE “CONFIRMATION HEARING”) WILL BE HELD BEFORE THE HONORABLE
24   DENNIS MONTALI, UNITED STATES BANKRUPTCY JUDGE, IN THE UNITED STATES
     BANKRUPTCY COURT FOR THE NORTHERN DISTRICT OF CALIFORNIA,
25   COURTROOM 17, 16TH FLOOR, 450 GOLDEN GATE AVENUE, SAN FRANCISCO, CA
     94102 ON MAY 27, 2020 AT 10:00 A.M. (PREVAILING PACIFIC TIME), OR AS SOON
26   THEREAFTER AS COUNSEL MAY BE HEARD.
27       THE BANKRUPTCY COURT HAS DIRECTED THAT ANY OBJECTIONS TO
     CONFIRMATION OF THE PLAN BE SERVED AND FILED ON OR BEFORE MAY 15, 2020
28

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     AT 4:00 P.M. (PREVAILING PACIFIC TIME) (THE “CONFIRMATION OBJECTION
 1   DEADLINE”). PURSUANT TO THE SCHEDULING ORDER, PRINCIPAL COUNSEL
 2   REPRESENTING A PARTY, OR ANY PRO SE PARTY, OBJECTING TO CONFIRMATION
     OF THE PLAN MUST APPEAR IN PERSON AT A PRE-CONFIRMATION SCHEDULING
 3   CONFERENCE ON MAY 19, 2020 AT 10:00 A.M. (PREVAILING PACIFIC TIME) TO
     DISCUSS SCHEDULING ANY EVIDENTIARY MATTERS TO BE DEALT WITH IN
 4   CONNECTION WITH THE CONFIRMATION HEARING AND SCHEDULING FOR
     BRIEFING OF CONTESTED LEGAL ISSUES. FAILURE TO APPEAR MAY RESULT IN
 5
     THE OBJECTION BEING STRICKEN.
 6
           PLEASE READ THIS DISCLOSURE STATEMENT, INCLUDING THE PLAN, IN ITS
 7   ENTIRETY. THE DISCLOSURE STATEMENT SUMMARIZES THE TERMS OF THE
     PLAN, BUT THE PLAN ITSELF QUALIFIES ALL SUCH SUMMARIES. ACCORDINGLY,
 8   IF THERE ARE ANY INCONSISTENCIES BETWEEN THE PLAN AND THIS DISCLOSURE
     STATEMENT, THE TERMS OF THE PLAN WILL CONTROL.
 9
             The draft Fire Victim Trust Agreement and the draft Fire Victim Claims Resolution Procedures
10
     describing the establishment and administration of the Fire Victim Trust have been filed with the
11   Bankruptcy Court, as has the substantially final form of Subrogation Wildfire Trust Agreement
     describing the establishment and administration of the Subrogation Wildfire Trust. Certain documents
12   necessary to the effectuation of the Plan will be filed with the Bankruptcy Court no later than 14 days
     before the Confirmation Objection Deadline. These documents are referred to collectively as the Plan
13   Supplement and will include, but not be limited to: (i) the Schedule of Rejected Contracts; (ii) the New
     Organizational Documents; (iii) to the extent known, information required to be disclosed in accordance
14
     with section 1129(a)(5) of the Bankruptcy Code as to the officers and directors of the Reorganized
15   Debtors on the Effective Date of the Plan; (iv) the Exit Financing Term Sheets; (v) the Schedule of
     Assigned Rights and Causes of Action; (vi) the Tax Benefits Payment Agreement; (vii) the Fire Victim
16   Trust Agreement; and (viii) the Fire Victim Claims Resolution Procedures. Such documents will be
     consistent with the terms of the Plan, provided, that, through the Effective Date, the Plan Proponents
17   will have the right to amend documents contained in, and exhibits to, the Plan Supplement in accordance
18   with the terms of the Plan.

19            WHERE TO FIND ADDITIONAL INFORMATION: The Debtors currently file annual,
     quarterly and current reports with, and furnish other information to, the Securities and Exchange
20   Commission (the “SEC”). Copies of any document filed with the SEC may be obtained by visiting the
     SEC website at http://www.sec.gov and performing a search under the “Company Filings” link or by
21   visiting http://investor.pgecorp.com/financials/sec-filings/default.aspx. Further information can be
     found in the following filings (but later information filed with the SEC that updates information in the
22
     filings incorporated by reference will update and supersede that information):
23
                •   Form 10-K for the fiscal year ended December 31, 2019, filed with the SEC on February
24                  18, 2020 (the “2019 Form 10-K”); and

25              •   Form 8-Ks filed with the SEC during the pendency of these Chapter 11 Cases.
26

27

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     II.    OVERVIEW OF THE CHAPTER 11 CASES
 1
            A.       Commencement of Chapter 11 Cases
 2

 3          On January 29, 2019, the Debtors commenced the Chapter 11 Cases. The Debtors continue to
     operate their business and manage their properties as debtors in possession pursuant to sections 1107(a)
 4   and 1108 of the Bankruptcy Code.

 5          The principal objectives of the Chapter 11 Cases are:
 6               •    First, to establish a process for PG&E to fully address and resolve its liabilities resulting
 7                    from the 2017 and 2018 Northern California wildfires and to provide compensation to
                      those entitled to compensation from the Debtors fairly and expeditiously – more quickly
 8                    and more equitably than those liabilities could be addressed and resolved in the state
                      court system;
 9

10               •    Second, to restore PG&E’s financial stability and assure that PG&E has access to the
                      capital and resources necessary to sustain and support its ongoing operations and to
11                    enable PG&E to continue investing in its systems infrastructure and critical safety and
                      wildfire prevention initiatives, including investing in PG&E’s Community Wildfire
12
                      Safety Program (a program to further reduce wildfire risks and help keep the customers
13                    and communities PG&E serves safe through enhanced real-time monitoring and
                      intelligence, safety measures, and electrical system equipment);
14
                 •    Third, to work collaboratively and constructively with State regulators and policy makers
15
                      to (i) address safety, operational and structural reforms; (ii) determine the most effective
16                    way for PG&E to provide safe and reliable electric and natural gas service to its
                      customers and communities for the long term; and (iii) address the significant increase
17                    in wildfire risk in an environment that continues to be challenged by climate change and
18                    its ongoing and future impact on California, including on PG&E and its operations; and

19               •    Fourth, to enable PG&E to continue its extensive restoration and rebuilding efforts to
                      assist the communities affected by the 2017 and 2018 Northern California wildfires.
20
            For further information regarding the commencement of the Chapter 11 Cases, please refer to
21
     the Form 10-K for the fiscal year ended December 31, 2018, filed with the SEC on February 28, 2019
22   and the Amended Declaration of Jason P. Wells in Support of First Day Motions and Related Relief
     [Docket No. 263].
23
            B.       Certain Significant Events During the Chapter 11 Cases
24

25          The following sections briefly summarize certain significant events occurring during the Chapter
     11 Cases.
26

27

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                 1.     Estimation of Aggregate Wildfire Liabilities
 1
             On July 18, 2019, the Debtors filed a motion in the Bankruptcy Court to establish procedures for
 2
     the estimation of PG&E’s aggregate liability for claims arising out of the 2015 Butte Fire and the 2017
 3   and 2018 Northern California wildfires for Plan confirmation purposes [Docket No. 3091]
     (the “Estimation Motion”).
 4
            On August 21, 2019, the Bankruptcy Court issued a recommendation to the United States District
 5   Court for the Northern District of California (the “District Court”) requesting the District Court
     withdraw its reference in part so that the District Court – and not the Bankruptcy Court – would decide
 6
     key questions relating to the estimation process. On August 22, 2019, the District Court accepted the
 7   Bankruptcy Court’s recommendation and assigned the matter to United States District Judge James
     Donato.
 8
            These estimation proceedings are currently pending as Case No. 19-cv-05257-JD in the District
 9   Court (the “Estimation Proceedings”) but, as further discussed below, have been stayed in light of the
10   settlement approved in connection with the Tort Claimants RSA.

11               2.     Bankruptcy Court Lifts Automatic Stay to Allow Tubbs Cases to Proceed in
                        State Court
12
             The Tort Claimants Committee and the Ad Hoc Subrogation Group, on July 2 and 3, 2019,
13   respectively, filed motions (the “Tubbs Lift Stay Motions”) seeking relief from the automatic stay to
     allow certain elderly or infirm individuals (collectively, with certain indispensable parties, the “Tubbs
14
     Preference Claimants”) to pursue state court litigation relating to the 2017 Tubbs fire (the “Tubbs
15   Cases”). The Bankruptcy Court considered the Tubbs Lift Stay Motions at the hearing on August 14,
     2019. On August 21, 2019, the Bankruptcy Court entered an order granting the Tubbs Lift Stay Motions,
16   allowing the Tubbs Cases to proceed to trial in Superior Court for the State of California (the “Superior
     Court”).
17

18           In light of the Tort Claimants RSA, the Superior Court entered an order vacating the existing
     trial dates for the Tubbs Cases and setting a hearing for March 2, 2020, to show cause regarding
19   dismissal of the Tubbs Cases. Upon entry into and pursuant to the Tort Claimants RSA, the Debtors
     promptly entered into settlement discussions with the Tubbs Preference Claimants to resolve the Tubbs
20   Cases. On January 6, 2020, the Debtors filed a motion (the “Tubbs Settlement Motion”) seeking
     approval of settlement agreements settling and liquidating the claims of the Tubbs Preference Claimants
21   for payment by the Fire Victim Trust, as provided in the Tort Claimants RSA. On January 30, 2020, the
22   Bankruptcy Court entered an order [Docket No. 5571] granting the relief requested in the Tubbs
     Settlement Motion.
23
                 3.     Debtors Settle Plan Treatment of Public Entities Wildfire Claims and Enter
24                      Into Public Entities Plan Support Agreements
25         On June 18, 2019, the Debtors and the Public Entities 1 entered into those certain Plan Support
     Agreements as to Plan Treatment of Public Entities’ Wildfire Claims (the “Public Entities Plan
26

27   1
      The “Public Entities” include the City of Clearlake, the City of Napa, the City of Santa Rosa, the
28   County of Lake, the Lake County Sanitation District, the County of Mendocino, Napa County, the

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       Support Agreements”). Pursuant to the Public Entities Plan Support Agreements, the Public Entities
 1     agreed to support and vote in favor of a chapter 11 plan proposed by the Debtors that provides that,
 2     among other things, the Public Entities Wildfire Claims will be satisfied with $1 billion in Cash, to be
       distributed from a trust account in accordance with the “Public Entities Settlement Distribution
 3     Protocol,” and the Reorganized Debtors will establish a $10 million segregated defense fund for the
       benefit of the Public Entities.
 4
               The Public Entities Plan Support Agreements provide that each may be terminated by the
 5     applicable Public Entity under certain circumstances, including (i) if the Federal Emergency
 6     Management Agency (“FEMA”) or the California Governor’s Office of Emergency Services (“Cal
       OES”) fails to agree that no reimbursement is required from the Public Entities on account of assistance
 7     rendered by either agency in connection with the Fires, and (ii) by any individual Public Entity, if a
       material amount of Public Entities Third Party Claims is filed against such Public Entity and such Public
 8     Entity and such Public Entities Third Party Claims are not released pursuant to the Plan.
 9
                   4.     Debtors Settle Subrogation Wildfire Claims and Enter Into Subrogation
10                        Claims RSA

11             On September 24, 2019, the Debtors filed a motion seeking Bankruptcy Court approval of that
       certain Restructuring Support Agreement, dated as of September 22, 2019 and related settlement
12     agreement (together, as amended and restated, and as may be further amended, restated and
       supplemented, the “Subrogation Claims RSA”) with the Consenting Creditors (as defined in the
13     Subrogation Claims RSA). Pursuant to the Subrogation Claims RSA, holders of approximately 96% of
14     all Subrogation Wildfire Claims (in dollar amount) agreed, among other things, to support and vote in
       favor of the Plan, in consideration of, among other things, an Allowed Subrogation Wildfire Claim of
15     $11 billion that will be paid in full in Cash under the Plan, and the payment of up to $55 million in
       reasonable, documented and contractual fees of certain of the Ad Hoc Subrogation Group’s
16     professionals. On December 19, 2019, the Bankruptcy Court entered an order [Docket No. 5173]
       authorizing the Debtors to enter into, and approving the terms of, the Subrogation Claims RSA and the
17     settlement embodied therein.
18
                   5.     Bankruptcy Court Appoints a Mediator
19
                On October 28, 2019, the Bankruptcy Court appointed retired Bankruptcy Judge Randall
20     Newsome as mediator in the Chapter 11 Cases to identify and mediate issues to progress the cases
       towards timely confirmation of a chapter 11 plan. Beginning on October 31, 2019, Judge Newsome
21     facilitated confidential settlement discussions among a number of key parties to the Chapter 11 Cases,
22     including the Debtors, the Tort Claimants Committee, certain plaintiffs’ attorneys for individuals
       holding Fire Victim Claims, the Official Committee of Unsecured Creditors (the “Creditors
23     Committee”), the Ad Hoc Noteholders Committee, certain agencies of the United States of America
       and the State of California asserting fire-related Claims, as well as the Shareholder Proponents.
24

25     County of Nevada, the County of Sonoma, the Sonoma County Agricultural Preservation and Open
26     Space District, the Sonoma County Community Development Commission, the Sonoma County Water
       Agency, the Sonoma Valley County Sanitation District and the County of Yuba (collectively, the “North
27     Bay Public Entities”); the Town of Paradise; the County of Butte; the Paradise Recreation & Park
       District; the County of Yuba; and the Calaveras County Water District.
28

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 1                 6.      Debtors Settle Plan Treatment of Fire Victim Claims and Enter Into Tort
 2                         Claimants RSA

 3              On December 6, 2019, the Debtors, the Tort Claimants Committee, the Consenting Fire Claimant
       Professional Group, and the Shareholder Proponents, entered into that certain Restructuring Support
 4     Agreement, dated December 6, 2019 (as amended on December 16, 2019 and may be further amended,
       restated and supplemented, the “Tort Claimants RSA”) that, among other things, resolved the treatment
 5     of all Fire Victim Claims under the Plan. The agencies of the United States of America and the State of
       California asserting fire-related Claims are not signatories to the Tort Claimants RSA. On December
 6
       19, 2019, the Bankruptcy Court entered an order [Docket No. 5174] authorizing the Debtors’ and TCC’s
 7     entry into, and approving the terms of, the Tort Claimants RSA and the settlements embodied therein.

 8             The Tort Claimants RSA provides, among other things, that (i) pursuant to the Plan, the Debtors
       will fund a Fire Victim Trust, to be established for the benefit of all holders of Fire Victim Claims, with
 9     cash and stock valued at $13.5 billion, and contribute certain assigned rights and causes of action to the
10     Fire Victim Trust; (ii) the parties agree to a stay of the Estimation Proceedings; (iii) the Debtors would
       promptly negotiate a settlement of the claims of the Tubbs Preference Claimants; and (iv) the Tort
11     Claimants Committee and Consenting Fire Claimant Professional Group will support the Plan.

12                 7.      Debtors Settle with Ad Hoc Noteholders Committee and Enter Into Noteholder
                           RSA
13
                On January 22, 2020, the Debtors, the Shareholder Proponents, and the Ad Hoc Noteholders
14
       Committee entered into that certain Restructuring Support Agreement, dated January 22, 2020 (as may
15     be amended, restated and supplemented, the “Noteholder RSA”). The Noteholder RSA provides,
       among other things, that the Ad Hoc Noteholders Committee will (i) withdraw their alternative plan,
16     (ii) suspend their motion to reconsider the order approving the Subrogation Claims RSA and Tort
       Claimants RSA, (iii) withdraw all discovery issued in connection with and support the relief requested
17     in the Debtors’ Exit Financing Motion (as defined below), (iv) have their debt secured on the Effective
       Date, and (v) support the Plan. On February 5, 2020, the Bankruptcy Court entered an order [Docket
18
       No. 5637] authorizing the Debtors to enter into, and approving the terms of, the Noteholder RSA and
19     the settlements embodied therein. On February 5, 2020, the Ad Hoc Noteholders Committee withdrew
       the TCC/Noteholder Plan [Docket No. 5644].
20
                   8.      Briefing on Plan Confirmation Issues
21
               On October 31, 2019, the Bankruptcy Court entered an order [Docket No. 4540] (the “Pre-
22     Confirmation Scheduling Order”) establishing briefing and hearing schedules for the following issues
23     related to plan confirmation: (i) whether the doctrine of inverse condemnation applies to a privately-
       owned utility, (ii) what is the appropriate postpetition interest rate for unsecured claims in a solvent
24     debtor case, (iii) whether holders of the Utility Senior Notes are entitled to Allowed Claims for make-
       whole premiums or similar amounts, and (iv) whether the Subrogation Claimants are impaired under the
25     Plan.
26                    Inverse Condemnation: On November 27, 2019, following briefing and oral argument
27     on the issue, the Bankruptcy Court issued a memorandum decision determining that the doctrine of
       inverse condemnation applies to the Utility. Following the decision, the Bankruptcy Court certified the
28     issue for appeal to the Ninth Circuit. On January 16 and 17, 2020, the Debtors concurrently filed a

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       petition for direct appeal with the United States Court of Appeals for the Ninth Circuit (the “Ninth
 1     Circuit”) and a motion to stay the proceedings pending confirmation of the Plan (and the settlements
 2     encompassed therein) by the Bankruptcy Court. On January 31, 2020, the Ninth Circuit issued an order
       granting the Debtors’ motion to stay the proceedings.
 3
                        Postpetition Interest: On December 30, 2019, following briefing and oral argument on
 4     the issue, the Bankruptcy Court issued a memorandum decision [Docket No. 5226] (the “Memorandum
       Decision”) determining that the appropriate rate of postpetition interest on unsecured claims in a solvent
 5     debtor case is the federal judgment interest rate as of the Petition Date calculated pursuant to 28 U.S.C.
 6     § 1961(a). On February 6, 2020, the Bankruptcy Court entered the Interlocutory Order Regarding
       Postpetition Interest [Docket No. 5669] (the “PPI Order”) consistent with the Memorandum Decision.
 7     On February 20, 2020, the Ad Hoc Committee of Holders of Trade Claims (the “Trade Committee”)
       filed a motion seeking a determination that the Memorandum Decision and PPI Order are final orders
 8     that may be appealed without leave, or, to the extent the Memorandum Decision and PPI Order are not
       final orders, leave to appeal the Memorandum Decision and PPI Order to be heard in the District Court.
 9
       On March 4 and 5, 2020, Mizuho Bank, Ltd., in its capacity as HoldCo Term Loan Administrative
10     Agent, the Creditors Committee, Citibank, NA, and BOKF, NA also filed notices of appeal and cross-
       motions for leave to appeal the Memorandum Decision and PPI Order, similarly requesting its appeal
11     be heard in the District Court. (collectively, the “PPI Appeals”).

12                     Consistent with the PPI Order and Memorandum Decision, the Plan provides for payment
       of postpetition interest on General Unsecured Claims at the applicable Federal Judgment Rate—2.59%.
13
       The Trade Committee asserts that postpetition interest on General Unsecured Claims should be paid
14     consistent with state law, and that under Cal. Civ. Code § 3289, this requires payment of postpetition
       interest on contract-based claims, such as trade claims, at the rate set forth in the applicable contract, or
15     in the absence of a contract rate, at the statutory rate of 10%. If the PPI Order and Memorandum
       Decision are overturned by a final non-appealable decision, the amount of postpetition interest the
16     Debtors or Reorganized Debtors are required to pay with respect to General Unsecured Claims could
       significantly increase. The Debtors contend that the PPI Order and Memorandum Decision are not final
17
       orders and are opposing the PPI Appeals, including the motions for leave to pursue the PPI Appeals.
18
                      Make-Whole Claims: The parties have fully briefed the question of whether holders of
19     Utility Senior Notes are entitled to Allowed Claims for make-whole premiums or similar amounts in
       accordance with the Pre-Confirmation Scheduling Order. Pursuant to the terms of the Noteholder RSA,
20     the parties have agreed to adjourn the matter without a further hearing date.
21
                      Subrogation Claims Impairment: On November 27, 2019, the Debtors and the Ad Hoc
22     Subrogation Group filed a joint opening brief arguing the Subrogation Wildfire Claims, as settled under
       the Subrogation Claimants RSA, are impaired for plan purposes. The Ad Hoc Noteholders Committee
23     filed a reservation of rights on the issue and, on January 10, 2020, the Creditors Committee filed a
       responsive brief. In view of the Noteholder RSA, the parties have agreed to remove the issue from the
24     Bankruptcy Court’s calendar without prejudice.
25                 9.      Exit Financing Motion
26
               On October 23, 2019, the Debtors filed the Debtors’ Motion for Entry of Orders (I) Approving
27     Terms of, and Debtors’ Entry into and Performance Under, Exit Financing Commitment Letters and
       (II) Authorizing Incurrence, Payment and Allowance of Related Fees and/or Premiums, Indemnities,
28

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       Costs and Expenses as Administrative Expense Claims [Docket No. 4446] (as amended at Docket Nos.
 1     5267 and 6013, and as may be further amended, modified or supplemented, the “Exit Financing
 2     Motion”), seeking approval of certain exit financing commitment letters providing for up to $12 billion
       in equity commitments (as further amended, modified and supplemented, the “Equity Backstop
 3     Commitment Letters”) and up to $34.35 billion in debt commitments (as further amended, modified
       and supplemented, the “Debt Backstop Commitment Letters,” and together with the Equity Backstop
 4     Commitment Letters, the “Exit Financing Commitment Letters”). On January 22, 2020, the Governor
       filed an objection to the Exit Financing Motion [Docket No. 5445] (the “Governor’s Objection”),
 5     which focused primarily on the Governor’s proposal to alter the Debtors’ corporate governance
 6     structure. On January 27, 2020, the Debtors reached a settlement with the Ad Hoc Noteholders
       Committee regarding the treatment of the Utility’s pre-petition funded debt under the Plan. The
 7     Bankruptcy Court approved the settlement on February 5, 2020. In light of the settlement with the Ad
       Hoc Noteholders Committee, the Debtors further amended the Exit Financing Commitment Letters to,
 8     among other things, reduce the aggregate Utility debt commitments and revise the provisions of the
       letters affected thereby. On March 3, 2020, the Debtors filed an amended Exit Financing Motion to
 9
       reflect the updated Exit Financing Commitment Letters. Following a hearing on March 16, 2020, the
10     Bankruptcy Court granted the relief requested in the Exit Financing Motion.

11                 10.     Tentative Settlements in Principle with Federal Agencies and Cal State
                           Agencies
12
               Certain federal agencies, including FEMA, and certain agencies of the State of California
13     (collectively, the “State Agencies”), including Cal OES and the California Department of Forestry and
       Fire Protection (“CAL FIRE”), have asserted Fire Claims in the Chapter 11 Cases against the Debtors
14
       in excess of $7.7 billion, for the majority of which the Debtors do not believe they have liability. On
15     December 2, 2019, the Tort Claimants Committee filed an objection [Docket No. 4943] (as joined by
       the Debtors at Docket No. 5639, the “FEMA Claims Objection”) to all Claims asserted by FEMA,
16     which total approximately $3.9 billion (the “FEMA Claims”), and on December 12, 2019, the Tort
       Claimants Committee filed an objection [Docket No. 5096] (as joined by the Debtors at Docket No.
17     5734, the “Cal OES Claims Objection” and, together with the FEMA Claims Objection, the
       “Government Claims Objections”), to all Claims asserted by Cal OES, which total approximately $2.7
18
       billion (the “Cal OES Claims”). The Cal OES Claims Objection also contested approximately $2.4
19     billion of the Cal OES Claims as being duplicative of the FEMA Claims. At a hearing on February 26,
       2020, the Bankruptcy Court heard oral argument to consider the Government Claims Objections and
20     took the matters under advisement. As of the date hereof, the Bankruptcy Court has not ruled on the
       Government Claims Objections.
21
               In connection with the Government Claims Objections and other contested matters, on February
22
       18, 2020, the Bankruptcy Court issued an order [Docket No. 5810] for, among other things, mediation
23     of classification issues related to the FEMA Claims and Cal OES Claims. Pursuant to the Plan, and as
       described in more detail below, the FEMA Claims, Cal OES Claims, and other Fire-related government
24     agency Claims are classified as Fire Victim Claims to be channeled to and, if Allowed, paid from the
       Fire Victim Trust. FEMA, Cal OES, and certain other federal and state governmental agencies,
25     however, contend that their Claims should be classified and treated as General Unsecured Claims under
       the Plan and, as such, expressed their intent to file formal motions challenging the Debtors’ proposed
26
       classification of such Claims. In lieu of formal motion practice, the Plan Proponents and the government
27     agencies stipulated to a briefing and hearing schedule on this classification issue, with a hearing before
       the Bankruptcy Court that was scheduled for April 1, 2020.
28

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               Tentative agreements in principle have been reached with each of FEMA and the State Agencies
 1     with respect to (a) the FEMA Claims and certain other claims asserted by Federal agencies that constitute
 2     Fire Claims (the “Federal Agency Fire Claims”), and (b) the State Agencies’ Fire Claims that are
       channeled to the Fire Victim Trust (the “State Agency Fire Claims”). Pending the finalization and
 3     approval of the settlements by the Bankruptcy Court, the briefing schedule on the classification issues
       related to the Federal Agency Fire Claims and State Agency Fire Claims has been suspended
 4     indefinitely.
 5            Pursuant to the terms of the tentative settlements:
 6
                   •    the FEMA Claims will be reduced and Allowed at $1 billion, channeled to the Fire Victim
 7                      Trust, and fully subordinated to all other Fire Victim Claims;

 8                 •    the Federal Agency Fire Claims shall be Allowed in the aggregate amount of $117
                        million and payable solely from the proceeds of the Assigned Rights and Causes of
 9                      Action, after the payment of professional fees and costs incurred in connection with the
                        pursuit of such Assigned Rights and Causes of Action;
10

11                 •    the Cal OES Claims will be withdrawn with prejudice;

12                 •    CAL FIRE’s Fire Claims (i.e., only those claims that are channeled to the Fire Victim
                        Trust under the Plan) will be settled and Allowed at $115.3 million, payable over a period
13                      of years by the Fire Victim Trust solely and exclusively from any cash interest earned on
                        the cash holdings of the Fire Victim Trust after the Effective Date;
14

15                 •    the other State Agency Fire Claims (i.e., only those claims that are channeled to the Fire
                        Victim Trust under the Plan) will be settled and Allowed at $89 million, payable by the
16                      Fire Victim Trust over a period of years, payable solely from proceeds of the
                        monetization of New HoldCo Common Stock in excess of $6.75 billion and certain
17                      available interest on the cash holdings of the Fire Victim Trust; and
18                 •    the holders of the above Claims that are being settled shall have no right of recovery from
                        the Debtors or Reorganized Debtors on account of the Fire Claims that are the subject of
19
                        tentative stettlements.
20
              C.       Related Pending Proceedings
21
                   1.       Securities Class Action
22
              Prior to the Petition Date, the Public Employees Retirement Association of New Mexico
23     (“PERA”) filed a securities class action lawsuit in the U.S. District Court for the Northern District of
24     California, Case No. 18-03509 (the “Securities Litigation”) against the Debtors, a number of the
       Debtors’ current and former directors and officers, and investment-bank underwriters of certain of the
25     Debtors’ notes offerings.

26            In the Securities Litigation, PERA asserts securities claims relating to, among other things,
       allegedly misleading statements the defendants made regarding their wildfire safety practices. The
27     claims are being asserted on behalf of investors who acquired the Debtors’ notes and equity securities
28     during the class period of April 29, 2015 through November 15, 2018.

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 1            The Securities Litigation has been and remains stayed with respect to the Debtors. PERA
 2     continues to pursue the Securities Litigation against the non-Debtor defendants. The non-Debtor
       defendants have filed motions to dismiss PERA’s complaint in the District Court.
 3
               On October 21, 2019, PERA filed proofs of claim in the Bankruptcy Court asserting a claim on
 4     behalf of itself. On December 9, 2019, PERA filed a motion to treat its proof of claim as a class proof
       of claim on behalf of the equity and debt securities holders covered by the Securities Litigation under
 5     Bankruptcy Rule 7023. On February 3, 2020, the Court issued a ruling indicating that it had tentatively
 6     determined either to allow the proof of claim filed by PERA to be treated as a class proof of claim
       (subject to Plaintiffs meeting the requirements of Rule 23 of the Federal Rule of Civil Procedure) or,
 7     instead, to allow certain additional noticing and an extension of the Bar Date in the Chapter 11 Cases
       for potential class members. The Court directed the parties to file supplemental briefs addressing why
 8     an extension of the Bar Date for these class members was not preferable. On February 18, 2020, the
       Court issued an order [Docket No. 5810], among other things, directing the parties to participate in
 9
       mediation regarding the allowance of the class proof of claim or an extension of the Bar Date. The
10     parties were ultimately unable to come to a resolution and, following a hearing on the issue, on February
       27, 2020, the Court issued an Order denying the motion by PERA to have its proof of claim treated as a
11     class proof of claim, ordering notice be provided to claimants that purchased the Debtors’ publicly traded
       debt and equity securities from April 29, 2015 through November 15, 2018 and who may have claims
12     under securities laws against the Debtors for rescission or damages and extending the Bar Date for those
       claimants to file claims to the Further Extended Bar Date of April 16, 2020.
13

14              Any such Claims that are filed in advance of the Further Extended Bar Date, if Allowed, will
       (i) if such Claims are for rescission or damages with respect to notes, be subordinated under section
15     510(b) of the Bankruptcy Code relative to Claims that are senior or of equal priority, and need to be
       funded and paid in full under the Plan, or (ii) if such Claims are for rescission or damages with respect
16     to equity, be afforded the same priority as that afforded to holders of the Debtors’ common stock.
17
                   2.      Butte County District Attorney Investigation and Potential Claims
18
               As disclosed in the 2019 Form 10-K, the Butte County District Attorney’s Office and the
19     California Attorney General’s Office opened a criminal investigation of the 2018 Camp fire. The
       Debtors have produced documents and continue to produce documents and respond to other requests for
20     information and witness testimony in connection with the criminal investigation of the 2018 Camp fire,
       including, but not limited to, documents related to the operation and maintenance of equipment owned
21
       or operated by the Debtors. The Debtors have also cooperated with the Butte County District Attorney’s
22     Office and the California Attorney General’s Office in the collection of physical evidence from
       equipment owned or operated by the Debtors. The Debtors currently are unable to predict the outcome
23     of the criminal investigation into the 2018 Camp fire.

24               Potential criminal charges that could be filed against the Debtors and current or former
       employees with respect to the 2018 Camp fire include recklessly causing a fire, manslaughter and related
25
       environmental charges. The Debtors could be subject to material fines, penalties, or restitution orders
26     if it is determined that the Debtors failed to comply with applicable laws and regulations in connection
       with the 2018 Camp fire, as well as non-monetary remedies such as oversight requirements. If the
27     Debtors were found criminally liable, the Debtors could also be liable for claims of restitution on behalf
       of certain Fire Victims under the California Penal Code. The Debtors believe that any claims for such
28

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       restitution would constitute Fire Victim Claims and under the Plan would be satisfied solely out of the
 1     Fire Victim Trust. The criminal investigation is not subject to the automatic stay under the Bankruptcy
 2     Code.

 3             The filing of criminal charges against the Debtors, the creation of any potential material
       indemnification obligation on the Debtors or any determination that any such claim for restitution is not
 4     satisfied solely out of the Fire Victim Trust may have a material impact on the ability of the Debtors to
       have the Plan confirmed by June 30, 2020.
 5
                      3.     Adversary Proceeding Related to Public Safety Power Shutoffs (“PSPS”)
 6
                On December 19, 2019, an individual plaintiff commenced a putative class action Adversary
 7     Proceeding No. 19-03061 (the “PSPS Adversary Proceeding”) against the Debtors in the Bankruptcy
       Court seeking to certify a class alleging damages in the amount of $2.5 billion and seeking injunctive
 8
       relief related to certain planned power outages instituted by the Debtors in October and November of
 9     2019. The Debtors do not believe there is any merit to the claims asserted in the PSPS Adversary
       Proceeding or that it is capable of being sustained as a class action. On January 21, 2020 the Debtors
10     filed a motion to dismiss the PSPS Adversary Proceeding and alternatively to strike class
       allegations. The motion was fully briefed by the parties and heard by the Bankruptcy Court on March
11     10, 2020.
12
       III.      POSTPETITION LEGISLATIVE AND REGULATORY MATTERS
13
                 A.    Wildfire Legislation 2
14
                On July 12, 2019, Governor Newsom signed into law Assembly Bill 1054 (“AB 1054” or the
15     “Wildfire Legislation”), which, among other things, establishes a statewide fund that participating
       utilities may access to pay for liabilities arising in connecting with future wildfires occurring after July
16     12, 2019 (the “Go-Forward Wildfire Fund”). The Wildfire Legislation also provides details regarding
       the conditions to and costs of participating in the Go-Forward Wildfire Fund and sets the criteria by
17
       which participating utilities can access the fund.
18
              Each of California’s large investor-owned electric utility companies that are not currently subject
19     to chapter 11, Southern California Edison (“SCE”) and San Diego Gas & Electric Company
       (“SDG&E”), has elected to participate in the Go-Forward Wildfire Fund. AB 1054 provides that the
20     Go-Forward Wildfire Fund is established upon SCE and SDG&E funding their initial contributions.
21             The Utility has provided notice to the California Public Utility Commission (the “CPUC”) of its
       intent to participate in the Go-Forward Wildfire Fund, and on August 26, 2019, the Bankruptcy Court
22
       issued an order [Docket No. 3689] authorizing the Debtors to participate in the Go-Forward Wildfire
23     Fund. Under AB 1054, however, to participate in the Go-Forward Wildfire Fund, the Utility must satisfy
       several additional conditions. Upon emergence from chapter 11, the Utility must pay the initial and
24     annual contributions required for participation in the Go-Forward Wildfire Fund. Additionally, the
       Utility must satisfy the following conditions by June 30, 2020:
25

26

27
       2
           This summary is qualified in its entirety by the actual text of AB 1054.
28

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                      (A) The [Utility’s Chapter 11 Case] has been resolved pursuant to a plan or
 1                    similar document not subject to a stay.
 2
                      (B) The [B]ankruptcy [C]ourt or a court of competent jurisdiction, in the
 3                    [Chapter 11 Cases], has determined that the resolution of the [Chapter 11
                      Case] provides funding or establishes reserves for, provides for assumption
 4                    of, or otherwise provides for satisfying any prepetition wildfire claims
                      asserted against the [Utility] in the [Chapter 11 Cases] in the amounts
 5                    agreed upon in any pre-insolvency proceeding settlement agreements or any
                      post-insolvency settlement agreements, authorized by the court through an
 6
                      estimation process or otherwise allowed by the court.
 7
                      (C) The [CPUC] has approved the reorganization plan and other documents
 8                    resolving the [Utility’s Chapter 11 Cases], including the [Utility’s] resulting
                      governance structure, as being acceptable in light of the [Utility’s] safety
 9                    history, criminal probation, recent financial condition, and other factors
                      deemed relevant by the [CPUC].
10

11                    (D) The [CPUC] has determined that the [Utility’s] reorganization plan and
                      other documents resolving the [Chapter 11 Cases] are (i) consistent with the
12                    state’s climate goals as required pursuant to the California Renewables
                      Portfolio Standard Program and related procurement requirements of the
13                    state and (ii) neutral, on average, to the ratepayers of the [Utility].
14                    (E) The [CPUC] has determined that the reorganization plan and other
                      documents resolving the [Chapter 11 Cases] recognize the contributions of
15
                      ratepayers, if any, and compensate them accordingly through mechanisms
16                    approved by the [CPUC], which may include sharing of value appreciation.

17     Cal. Pub. Util. Code §3291(b)(1)(A)-(E).

18              If the Utility satisfies the requirements to participate in the Go-Forward Wildfire Fund, the
       Utility’s required contributions to the Go-Forward Wildfire Fund will be substantial. The Go-Forward
19     Wildfire Fund is expected to be funded with approximately (i) $10.5 billion of proceeds of bonds
       supported by a 15-year extension of the Department of Water Resources charge to ratepayers, (ii) $7.5
20
       billion in initial contributions from California’s three investor-owned electric utility companies and
21     (iii) $300 million in annual contributions paid by California’s three investor-owned electric utility
       companies. The contributions from the investor-owned electric utility companies will be effectively
22     borne by their respective shareholders, as they will not be permitted to recover these costs from
       ratepayers. The costs of the initial and annual contributions are allocated among the three investor-
23     owned electric utility companies pursuant to a “Wildfire Fund allocation metric” set forth in AB 1054
24     based on land area in the applicable utility’s service territory classified as high fire threat districts and
       adjusted to account for risk mitigation efforts. The Utility’s initial Go-Forward Wildfire Fund allocation
25     metric will be 64.2% (representing an initial contribution of approximately $4.8 billion and annual
       contributions of approximately $193 million). In addition, all initial and annual contributions will be
26     excluded from the measurement of the Utility’s authorized capital structure.
27           Participation in the Go-Forward Wildfire Fund is expected to have a material impact on the
       Reorganized Debtors’ financial condition, results of operations, liquidity and cash flows. The Utility is
28

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       currently evaluating the accounting and tax treatment of the required initial and annual
 1     contributions. The timing and amount of any potential charges associated with shareholder
 2     contributions would also depend on various factors, including the timing of resolution of the Chapter 11
       Cases. Furthermore, there can be no assurance that the expected benefits of participating in the Go-
 3     Forward Wildfire Fund ultimately outweigh its substantial costs.

 4              In addition to establishing the Go-Forward Wildfire Fund, AB 1054 also provides that the first
       $5.0 billion in the aggregate spent by SCE, SDG&E and the Utility on fire risk mitigation capital
 5     expenditures included in their approved wildfire mitigation plans will be excluded from their respective
       equity rate bases. The $5.0 billion of capital expenditures will be allocated among the investor-owned
 6
       utilities in accordance with their Go-Forward Wildfire Fund allocation metrics (described above) and
 7     may be securitized through a customer charge.

 8            While the Plan Proponents believe the Plan complies with all of the requirements of AB 1054
       and will be approved by the CPUC, certain state and federal government agencies disagree. Such state
 9     and federal government agencies, however, have no approval rights over the CPUC’s determination of
       such compliance.
10

11            B.    Governor’s Letter Regarding Compliance with the Wildfire Legislation

12             On December 13, 2019, Governor Gavin Newsom sent a letter to the Utility’s management
       stating, among other things, that the Governor believed that the draft Debtors’ and Shareholder
13     Proponents’ Joint Chapter 11 Plan of Reorganization shared on December 6, 2019 with the Governor’s
       Office (the “December 6 Plan”) did not comply with AB 1054. The Governor’s letter set forth a number
14     of governance and management requirements that the Governor believed were necessary to comply with
15     AB 1054. The Governor’s letter further stated that the capital structure set forth in the December 6 Plan
       would contribute to a reorganized company that, in the Governor’s view, would not be positioned to
16     provide safe, reliable, and affordable electric service. The Debtors have taken the views of the
       Governor’s Office into account in formulating the Plan, which the Debtors believe complies with AB
17     1054. The Debtors and the Governor’s Office remain in continuous discussions.
18
              C.    CPUC Approvals
19
              Given the Utility’s status as a public utility regulated by the CPUC, there are a number of issues
20     in pending or anticipated regulatory proceedings that will need to be addressed by the CPUC prior to or
       in connection with confirmation or effectiveness of the Plan. These regulatory matters are summarized
21     below:
22                    Plan OII. Under applicable state and federal law, certain provisions of the Plan,
       including any ratemaking implications of the Plan, must be reviewed and approved by the CPUC in the
23
       ordinary course of its regulatory duties. In addition, as discussed above, the California legislature has
24     passed, and the Governor has signed into law, AB 1054. As a result, there are certain regulatory
       approvals that the Utility must or may desire to obtain prior to or as part of and in connection with
25     confirmation or effectiveness of the Plan with respect to participation in the Go-Forward Wildfire Fund,
       including satisfaction of the conditions set forth in AB 1054 as determined, where applicable, by the
26     CPUC. To facilitate this review, on October 4, 2019, the CPUC commenced Investigation (I.) 19-09-
       016, Order Instituting Investigation on the Plan (the “Plan OII”) to consider the ratemaking and other
27
       implications that will result from the confirmation of a plan of reorganization and other regulatory
28     approvals necessary to resolve the Chapter 11 Cases. This proceeding, among other things, affords

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       parties the opportunity to be heard and comment on any CPUC regulatory approvals required pursuant
 1     to Public Utilities Code Section 3292 in order for PG&E to become eligible to participate in the wildfire
 2     fund established pursuant to AB 1054 and other state law, any other regulatory approvals required by
       AB 1054, and any other matters that may need to be decided by the CPUC in connection with a plan.
 3     The CPUC expects to render its decision sufficiently in advance of the June 30, 2020 statutory deadline
       contained in AB 1054 to allow the Bankruptcy Court to address and approve any modifications made to
 4     the Plan pursuant to CPUC orders.
 5                     On January 31, 2020, the Utility served prepared testimony in the Plan OII outlining key
 6     elements of the Plan, including, but not limited to: (i) key aspects of the Utility’s governance structure;
       (ii) implementing a plan to regionalize PG&E’s operations; (iii) appointing an independent safety
 7     advisor; (iv) strengthening the roles of the Chief Risk Officer and the Chief Safety Officer; (v) utilizing
       an Independent Safety Oversight Committee with non-PG&E Corporation and non-Utility employees
 8     to provide independent review of PG&E’s operations; (vi) paying value in excess of $25.5 billion to
       wildfire victims through the settlements reached; and (vii) emerging from chapter 11 with a financing
 9
       structure that seeks to protect customer rates and position PG&E for long term success.
10
                      On February 11, 2020, the Administrative Law Judge issued a ruling setting a schedule
11     for, among other things, testimony and evidentiary hearings for the Plan OII (the “Schedule”). On
       February 18, 2020, the assigned Commissioner issued a ruling setting forth certain proposals
12     (“Proposals”) as potential conditions on CPUC approval under AB 1054 and proposing a modified
       schedule that provided for supplemental testimony and briefing on the Proposals. Evidentiary hearings
13
       and live testimony began on February 25, 2020 and concluded on March 4, 2020 pursuant to the
14     Schedule. On February 26, 2020, the Administrative Law Judge amended the Schedule to provide for
       combined post-hearing briefing and comments on the Proposals on March 13, 2020 and replies on March
15     26, 2020, and noted that, if necessary, an evidentiary hearing on the Proposals would occur on March
       18, 2020.
16
                       Other Relevant Pending Enforcement Proceedings. There are a number of pending
17     enforcement proceedings that relate to prepetition conduct by the Debtors and could result in monetary
18     fines, penalties or other remedies. The Debtors’ financial condition, results of operations, liquidity, and
       cash flows could be materially affected by the outcomes of these proceedings. Accordingly, satisfactory
19     resolution of these proceedings is a condition precedent to the effectiveness of the Plan, unless waived.
       These pending proceedings include:
20
                      (i)      Wildfire OII. Investigation (I.) 19-06-015, Order Instituting Investigation on the
21                             Commission’s Own Motion into the Maintenance, Operations and Practices of
22                             Pacific Gas and Electric Company (U39E) with Respect to its Electric Facilities;
                               and Order to Show Cause Why the Commission Should not Impose Penalties
23                             and/or Other Remedies for the Role PG&E’s Electrical Facilities had in Igniting
                               Fires in its Service Territory in 2017. On December 17, 2019, the Utility, the
24
                               CPUC’s Safety and Enforcement Division (“SED”), the Coalition of California
25                             Utility Employees (“CUE”), and the CPUC’s Office of Safety Advocates filed a
                               motion seeking approval of a settlement agreement that would, if approved by the
26                             CPUC, resolve the proceeding. Pursuant to the settlement, the Utility would not
27                             seek rate recovery of $1.625 billion in wildfire related expenditures and would
                               spend $50 million in shareholder funds on system enhancement initiatives. On
28

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                             February 27, 2020, the Administrative Law Judge served a Presiding Officer’s
 1
                             Decision, which would approve the proposed settlement, subject to the settling
 2                           parties’ acceptance of certain modifications to the settlement. The modified
                             settlement, if accepted by the settling parties, increases the financial obligations
 3                           imposed by the proposed settlement agreement. The modified settlement would
                             require the Utility to (i) not seek rate recovery of $1.823 billion in wildfire-related
 4
                             expenditures, (ii) spend $114 million in shareholder funds on system
 5                           enhancement initiatives, (iii) pay a cash fine of $200 million to the general fund
                             of the State of California out of funds that would not otherwise be available to
 6                           satisfy the claims of wildfire claimants, and (iv) agree that any future tax savings
 7                           associated with shareholder payments under the settlement would be “returned to
                             the benefit of ratepayers.” The parties to the settlement may accept the modified
 8                           settlement or request other relief on or before March 18, 2020. Parties have until
                             March 30, 2020 to appeal the Presiding Officer’s Decision. The CPUC believes
 9
                             that the payment of any fines or penalties, including the proposed cash fine
10                           contained in the modified settlement, should not diminish funds available to
                             satisfy Fire Victim Claims from the Fire Victim Trust and has requested that the
11                           Plan be modified accordingly. The Plan Proponents disagree and believe that
12                           payment of any such fines and penalties are to be made from the assets of the Fire
                             Victim Trust.
13
                     (ii)    Locate and Mark OII. Investigation (I.) 18-12-007, Order Instituting
14                           Investigation and Order to Show Cause on the Commission’s Own Motion into
15                           the Operations and Practices of Pacific Gas and Electric Company with Respect
                             to Locate and Mark Practices and Related Matters. On October 3, 2019, the
16                           Utility, SED and CUE filed a motion for approval of a settlement agreement that
                             would, if approved by the CPUC, resolve the proceeding. On January 17, 2020,
17
                             the Administrative Law Judge served a Presiding Officer’s Decision, which
18                           would approve the proposed settlement, subject to the settling parties’ acceptance
                             of certain modifications to the settlement. On February 6, 2020, the settling
19                           parties filed a pleading suggesting certain modifications to the terms set forth in
20                           the Presiding Officer’s Decision, but also stating their willingness to accept the
                             terms as set forth in the Presiding Officer’s Decision in the event their suggestions
21                           are not accepted. On February 14, 2020, the Administrative Law Judge denied
                             the settling parties’ request to modify the terms of the Presiding Officer’s
22                           Decision, and granted the settling parties’ acceptance of the terms of the Presiding
23                           Officer’s Decision as proposed. On February 20, 2020, the Presiding Officer’s
                             Decision became the decision of the CPUC.
24
              D.    Other Federal Regulatory Matters
25

26             Section 203 of the Federal Power Act (“FPA”) has been interpreted to require, among other
       things, that entities involved in wholesale sales or transmission of electricity in interstate commerce
27     obtain the authorization of the Federal Energy Regulatory Commission (“FERC”) prior to engaging in
       transactions that transfer control of FERC-jurisdictional facilities. Such changes in control can occur
28

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       either directly, via a sale of the facilities themselves, or indirectly via a change in the corporate control
 1     of a utility like PG&E, or a utility holding company like PG&E Corp. Section 203 provides that FERC
 2     will approve transactions that are consistent with the public interest, and that FERC may grant approval
       of a transaction on conditions FERC finds necessary or appropriate.
 3
               Because the Plan calls for the Fire Victim Trust to acquire at least 20.9% of the equity of
 4     Reorganized PG&E Corp., FERC may consider the Plan to result in an indirect change in control over
       the FERC-jurisdictional facilities of the Utility. As a result, the Debtors may be required to seek and
 5     obtain authorization from FERC under Section 203 of the FPA before engaging in the transactions
       called-for by the Plan. On March 2, 2020, the Debtors submitted an application (the “FERC
 6
       Application”) seeking such authorization and requested FERC action on its application in advance of
 7     the June 30, 2020 statutory deadline provided for in AB 1054. The deadline to comment on the FERC
       Application is March 23, 2020.
 8
       IV.    BACKGROUND AND OVERVIEW OF THE PLAN 3
 9
               This section summarizes certain key provisions of the Plan. This section is intentionally not a
10     recitation of the entirety of the Plan, a copy of which is annexed hereto as Exhibit A. For additional
11     information regarding the Plan not discussed in this section, please refer to the following select Plan
       provisions:
12
                                                       Topic                                  Plan Provision
13
                      Treatment of Claims and Interests                                         Article IV
14
                      Provisions Governing Distributions to Holders of Claims and Interests     Article V
15
                      Means for Implementation and Execution of the Plan                        Article VI
16
                      Procedures for Disputed Claims                                            Article VII
17
                      Treatment of Executory Contracts and Unexpired Leases                    Article VIII
18
                      Retention of Causes of Action of the Debtors and Reorganized Debtors     Article X.11
19
                      Miscellaneous Provisions                                                  Article XII
20

21            A.    Plan Background
22             Over the past several months, the Debtors and their advisors have worked diligently with their
       key economic stakeholders, regulators, and other parties in interest on the terms of a comprehensive,
23     global restructuring that will fairly and equitably address all Fire Victim Claims and other prepetition
24

25
       3
26       This overview is qualified in its entirety by reference to the Plan. The treatment of Claims and
       Interests under the Plan is not intended to, and will not, waive, compromise, or limit any of the Debtors’
27     or creditors’ rights, claims, or causes of action if the Plan is not confirmed. You should read the Plan,
       attached hereto as Exhibit A in its entirety before voting to accept or reject the Plan.
28

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       claims and equity interests, maximize value for all parties in interest, and ensure that the Utility will be
 1     positioned to deliver safe and reliable service to its customers.
 2
                A central component of the Plan is approximately $47.1 billion of capital to be provided through
 3     any combination of (i) new credit facilities, including exit revolving loan facilities, senior term loan
       facilities and/or bridge loan facilities; (ii) new debt securities issued by the Utility (the “New Utility
 4     Notes”); (iii) new debt securities issued by HoldCo (the “New Holdco Notes” and, together with the
       New Utility Notes, the “New Debt Securities”); (iv) issuance of new PG&E Corp. common stock (“New
 5     HoldCo Common Stock”) pursuant to one or more public or private equity offerings and/or the Rights
       Offering (if implemented); (v) the reinstatement of certain of the Utility’s prepetition debt in accordance
 6
       with the existing terms of such prepetition debt; and (vi) the exchange of certain of the Utility’s
 7     prepetition debt for new debt (the capital sources described in the foregoing (i) through (vi), collectively,
       the “Plan Financing Sources”). The capital resulting from the Plan Financing Sources will allow the
 8     Debtors to consummate the Plan, and will position them as a stronger utility for years to come.
 9             B.    Classification and Treatment of Claims and Interests 4
10
               The following table provides a summary of the classification and treatment of Claims and
11     Interests under the Plan and is qualified in its entirety by reference to the Plan.

12            Claims and                                           Summary of Treatment
               Interests
13                                               Impaired Claims Entitled to Vote
                                (a) Description: All Fire Victim Claims, including claims of individuals for personal injury,
14                                  wrongful death, or property damage and claims of Governmental Units, arising out of the
                                    Butte Fire (2015), the North Bay Wildfires (2017), and the Camp Fire (2018) (other than
15                                  Public Entities Wildfire Claims, Subrogation Wildfire Claims, and Subrogation Butte Fire
                                    Claims). This includes the Fire Victim Claims of both uninsured and underinsured
16                                  claimants.
                                (b) Treatment: On the Effective Date or as soon as reasonably practicable thereafter, the
17                                  Reorganized Debtors shall establish the Fire Victim Trust. The Fire Victim Trust will be
                                    funded with consideration with an aggregate value of $13.5 billion as follows: (i) $5.4
18                                  billion in Cash on the Effective Date of the Plan; (ii) an additional $1.35 billion in Cash,
                                    consisting of (a) $650 million to be paid in Cash on or before January 15, 2021 pursuant to
19                                  a Tax Benefits Payment Agreement, and (b) $700 million to be paid in Cash on or before
           Fire Victim Claims       January 15, 2022 pursuant to a Tax Benefits Payment Agreement; (iii) $6.75 billion in
20                                  common stock of Reorganized PG&E Corp. (using an equity value equal to 14.9 multiplied
                                    by the Normalized Estimated Net Income as of a date to be agreed upon among the parties
21                                  to the Tort Claimants RSA), representing not less than 20.9% of the outstanding common
                                    stock of Reorganized PG&E Corp. as of the Effective Date; and (iv) the assignment of
22                                  certain causes of action and insurance rights on the Effective Date. All Fire Victim Claims
                                    shall be satisfied solely from the Fire Victim Trust with no recourse to the Debtors, the
23                                  Reorganized Debtors, or their respective assets and properties. Funding of the Fire Victim
                                    Trust as provided above shall be in full and final satisfaction, release, and discharge of all
                                    Fire Victim Claims. Each holder of a Fire Victim Claim shall receive payment as
24                                  determined in accordance with the Fire Victim Claims Resolution Procedures, a draft of
                                    which were filed with the Bankruptcy Court on March 3, 2020 along with a draft of the
25                                  Fire Victim Trust Agreement. These documents will be included in the Plan Supplement.
26     4
         The following categories of claims and equity interests are presented in a summary form for ease of
27     reference, and do not correspond exactly to the more detailed classes of claims and equity interests
       contained in the Plan.
28

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                                  (c) Impairment and Voting: Impaired; Entitled to vote on the Plan.
 1                                (a) Description: All Fire Claims (other than Fire Claims arising from the Butte Fire (2015))
                                      held by insurers or their assignees in connection with payments made on account of
 2                                    damages or losses arising from such wildfires.
                                  (b) Treatment: The Subrogation Wildfire Claims shall be settled and Allowed in the aggregate
 3                                    amount of $11 billion. On the Effective Date or as soon as reasonably practicable
                                      thereafter, the Reorganized Debtors shall fund the Subrogation Wildfire Trust with Cash in
 4                                    the amount of $11 billion. On the Effective Date, the Debtors’ liability for all Subrogation
                                      Wildfire Claims shall be fully assumed by, and be the sole responsibility of, the
 5             Subrogation            Subrogation Wildfire Trust, and all such Claims shall be satisfied solely from the assets of
              Wildfire Claims         the Subrogation Wildfire Trust. Pursuant to the Channeling Injunction, each holder of a
 6                                    Subrogation Wildfire Claim shall have its Claim permanently channeled to the Subrogation
                                      Wildfire Trust, and such Claim shall be asserted exclusively against the Subrogation
 7                                    Wildfire Trust in accordance with its terms, with no recourse to the Debtors, the
                                      Reorganized Debtors, or their respective assets and properties. Each holder of a
 8                                    Subrogation Wildfire Claim shall receive payment as determined in accordance with the
                                      Subrogation Wildfire Trust Agreement, a substantially final form of which was filed with
 9                                    the Bankruptcy Court on February 28, 2020 and will be included in the Plan Supplement.
                                  (c) Impairment and Voting: Impaired; Entitled to vote on the Plan.
10                                (a) Description: Claims held by those Public Entities that entered into Plan Support
                                      Agreements with the Debtors that, among other things, settled their claims relating to the
                                      Butte Fire (2015), the North Bay Wildfires (2017), and the Camp Fire (2018).
11            Public Entities     (b) Treatment: Payment of the settlement amount of $1 billion in cash, plus the establishment
              Wildfire Claims         of a fund in the amount of $10 million to reimburse the Public Entities for legal fees and
12                                    costs associated with any third party claims relating to the wildfires that may be brought
                                      against the Public Entities.
13                                (c) Impairment and Voting: Impaired; Entitled to vote on the Plan.
                                  (a) Description: Any Claims arising under, or related to, the Utility Impaired Senior Note
14                                    Documents.
                                  (b) Treatment: On the Effective Date, holders of Utility Impaired Senior Note Claims shall
15           Utility Impaired
                                      receive Cash equal to their Utility Impaired Senior Note Claim Interest Amount and equal
            Senior Note Claims
                                      amounts of each issue of New Utility Long-Term Notes in an aggregate amount equal to
16                                    such holder’s Utility Impaired Senior Note Claim Principal Amount. 5
                                  (c) Impairment and Voting: Impaired; Entitled to vote on the Plan.
17                                (a) Description: Any Claims arising under, or related to, the Utility Short-Term Senior Note
                                      Documents.
18          Utility Short-Term
                                  (b) Treatment: On the Effective Date, holders of Utility Short-Term Senior Note Claims shall
                                      receive Cash equal to their Utility Short-Term Senior Note Claim Interest Amount and
            Senior Note Claims
19                                    equal amounts of each issue of New Utility Short-Term Notes in an aggregate amount equal
                                      to such holder’s Utility Short-Term Senior Note Claim Principal Amount. 6
20                                (c) Impairment and Voting: Impaired; Entitled to vote on the Plan.
                                  (a) Description: Any Claims arising under, or related to, the Utility Funded Debt Documents.
            Utility Funded Debt   (b) Treatment: On the Effective Date, holders of Utility Funded Debt Claims shall receive
21                 Claims             Cash equal to their Utility Funded Debt Claim Interest and Charges Amount and equal
22
       5
23       The Utility Senior Notes Trustee asserts that the Utility Impaired Senior Note Documents, the Utility
       Short-term Senior Note Documents and the Bankruptcy Code require the Utility to pay directly in full,
24     the Utility Senior Notes Trustee’s outstanding fees, costs, expenses, and indemnities, including
       attorneys’ fees and financial advisors’ fees. The Plan Proponents disagree with such assertions. In the
25
       event that such fees, costs, expenses and indemnities are satisfied from the applicable Charging Lien
26     and not from a direct payment by the Utility, distributions to holders of the Utility Impaired Senior Note
       Claims and the Utility Short-term Senior Note Claims will be subject to reduction and dilution.
27
       6
           See supra note 5.
28

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                                      amounts of each issue of New Utility Funded Debt Exchange Notes in an aggregate amount
 1                                    equal to such holder’s Utility Funded Debt Claim Principal Amount. On the Effective
                                      Date, any Utility Letters of Credit outstanding shall be replaced or canceled and returned
 2                                    to the issuing Utility Revolver Lender in accordance with the terms of the applicable Utility
                                      Letter of Credit and the Utility Revolver Documents.
 3                              (c)   Impairment and Voting: Impaired; Entitled to vote on the Plan.
                                (a)   Description: The existing publicly traded common stock of PG&E Corp.
 4                              (b)   Treatment: Each holder of a HoldCo Common Interest shall retain such HoldCo Common
                                      Interest, subject to dilution from any common stock or securities linked to common stock
          HoldCo Common
 5                                    issued under the Plan. If a rights offering is implemented in connection with the
              Interests
                                      implementation of the Plan, holders of HoldCo Common Interests shall have the right to
 6                                    participate in the rights offering.
                                (c)   Impairment and Voting: Impaired; Entitled to vote on the Plan.
 7                              (a)    Description: Any Claim against HoldCo subject to subordination pursuant to section
                                       510(b) of the Bankruptcy Code arising from or related to the common stock of HoldCo.
 8                              (b) Treatment: In full and final satisfaction, settlement, release, and discharge of any HoldCo
                                    Rescission or Damage Claim, except to the extent that the Debtors or the Reorganized
 9                                  Debtors, as applicable, and a holder of an Allowed HoldCo Rescission or Damage Claim
                                    agree to a less favorable treatment of such Claim, on the Effective Date or as soon as
10                                  reasonably practicable thereafter, each holder of an Allowed HoldCo Rescission or
                                    Damage Claim shall receive a number of shares of New HoldCo Common Stock equal to
          HoldCo Rescission
11        or Damage Claims
                                    such holder’s HoldCo Rescission or Damage Claim Share of the outstanding number of
                                    common stock of HoldCo as of the Petition Date (526,118,408). HoldCo Rescission or
12                                  Damage Claim Share means a percentage equal to (i) the dollar amount of a holder’s
                                    Allowed HoldCo Rescission or Damage Claim less any cash payments received from an
13                                  Insurance Policy, divided by (ii) $35,905,153,932 (which represents HoldCo’s market
                                    capitalization calculated using the market opening price on October 12, 2017, the day of
14                                  the first disclosure alleged by PERA, and the fully diluted shares outstanding on or around
                                    such date).
                                (a) Impairment and Voting: Impaired; Entitled to vote on the Plan
15
                                                Unimpaired Claims Not Entitled to Vote
16
                                (a)   Description: Costs and expenses of administering the chapter 11 cases, including Claims
                                      related to the DIP Financing.
17                              (b)   Treatment: Each holder of an Allowed Administrative Expense Claim will be paid in full
                                      on the Effective Date; provided that any Allowed Administrative Expense Claim that is not
18                                    due and payable prior to the Effective Date, shall be paid by the Debtors or the Reorganized
           Administrative             Debtors, as applicable, in the ordinary course of business, consistent with past practice and
19         Expense Claims             in accordance with the terms and subject to the conditions of any orders or agreements
                                      governing, instruments evidencing, or other documents establishing, such liabilities. For
20                                    the avoidance of doubt, no Administrative Expense Claims shall be discharged pursuant to
                                      the Plan, other than Allowed Administrative Expense Claims that have been paid in Cash
21                                    or otherwise satisfied in the ordinary course in an amount equal to the Allowed amount of
                                      such Claim on or prior to the Effective Date.
22                              (a)   Description: Tax and other Claims entitled to priority in payment under the Bankruptcy
                                      Code.
23       Priority Tax Claims    (b)   Treatment: Each holder of an Allowed Priority Tax Claim will be paid in full on the
                                      Effective Date, including any applicable postpetition interest.
24                              (a)   Description: A Secured Claim that is not a DIP Facility Claim or Priority Tax Claim.
                                (b)   Treatment: Each holder of an Allowed Secured Claim will, at the option of the Debtors or
25                                    Reorganized Debtors (i) retain its Other Secured Claim and the Collateral securing such
            Other Secured             Claim; (ii) receive Cash in an amount equal to such Allowed Claim, or (iii) receive
26             Claims                 treatment of such Allowed Other Secured Claim in any other manner that is necessary to
                                      satisfy the requirements of section 1124 of the Bankruptcy Code.
27                              (c)   Impairment and Voting: Unimpaired; Not entitled to vote on the Plan.

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                               (a) Description: Any Claim, other than an Administrative Expense Claim or a Priority Tax
 1                                 Claim, entitled to priority in payment as specified in section 507(a)(3), (4), (5), (6), (7), or
                                   (9) of the Bankruptcy Code.
 2                             (b) Treatment: Each holder of an Allowed Priority Non-Tax Claim will receive, at the option
          Priority Non-Tax
                                   of the Debtors or Reorganized Debtors, (i) Cash in an amount equal to such Allowed Claim,
               Claims
 3                                 payable on the Effective Date or as soon as reasonably practicable thereafter, or (ii) such
                                   other treatment consistent with the provisions of section 1129(a)(9) of the Bankruptcy
 4                                 Code.
                               (c) Impairment and Voting: Unimpaired; Not entitled to vote on the Plan.
 5                             (a) Description: All prepetition Claims against PG&E Corp. arising from the HoldCo Revolver
                                   Documents and the HoldCo Term Loan Documents.
 6         HoldCo Funded       (b) Treatment: Each holder of an Allowed HoldCo Funded Debt Claim will be paid in full, in
            Debt Claims            Cash on the Effective Date, including payment of postpetition interest at the Federal
 7                                 Judgment Rate.
                               (c) Impairment and Voting: Unimpaired; Not entitled to vote on the Plan.
 8                             (a) Description: Any Claim arising under, or related to, the Utility PC Bond (2008 F and 2010
                                   E) Documents.
 9                             (b) Treatment: On the Effective Date or as soon as reasonably practicable thereafter, each
                                   holder of an Allowed Utility PC Bond (2008 F and 2010 E) Claim shall receive Cash in an
           Utility PC Bond         amount equal to (i) the principal amount outstanding as of the Petition Date of such holder’s
10       (2008 F and 2010 E)       Utility PC Bond (2008 F and 2010 E) Claim plus all accrued and unpaid interest owed as
                Claims             of the Petition Date at the non-default contract rate; (ii) all interest accrued from the Petition
11                                 Date through the Effective Date at the Federal Judgment Rate; and (iii) fees and charges
                                   and other obligations owed through the Effective Date, solely to the extent provided for
12                                 under the applicable PC Bond (2008 F and 2010 E) Documents.
                               (c) Impairment and Voting: Unimpaired; Not entitled to vote on the Plan.
13                             (a) Description: Any Claims arising under, or related to, the Utility Reinstated Senior Note
                                   Documents.
14        Utility Reinstated
                               (b) Treatment: On the Effective Date, each holder of a Utility Reinstated Senior Note Claim
         Senior Note Claims
                                   shall have such holder’s Utility Reinstated Senior Note Claim Reinstated.
15                             (c) Impairment and Voting: Unimpaired; Not entitled to vote on the Plan.
                               (a) Description: All prepetition unsecured Claims (other than a DIP Facility Claim,
16                                 Administrative Expense Claim, Professional Fee Claim, Priority Tax Claim, Other Secured
                                   Claim, Priority Non-Tax Claim, Funded Debt Claim, Workers’ Compensation Claim, 2001
17                                 Utility Exchange Claim, Fire Claim, Ghost Ship Fire Claim, Intercompany Claim, Utility
                                   Senior Note Claim, Environmental Claim, or Subordinated Debt Claim). Includes all
18        General Unsecured
                                   Prepetition Executed Settlement Claims (including but not limited to settlements relating
                                   to Subrogation Butte Fire Claims) and Claims for damages resulting from or otherwise
               Claims
19                                 based on the Debtors’ rejection of executory contracts or unexpired leases.
                               (b) Treatment: Each holder of an Allowed General Unsecured Claim to be paid in full on the
20                                 Effective Date. The Allowed amount of any General Unsecured Claim shall include all
                                   interest accrued from the Petition Date through the Effective Date at the Federal Judgment
21                                 Rate.
                               (c) Impairment and Voting: Unimpaired; Not entitled to vote on the Plan.
22                             (a) Description: Any Claim related to or arising from the Ghost Ship Fire which occurred in
                                   Oakland, California on December 2, 2016.
                               (b) Treatment: On and after the Effective Date, each holder of a Ghost Ship Fire Claim shall
23         Ghost Ship Fire
                                   be entitled to pursue its Claim against the applicable Reorganized Debtor, provided that
              Claims
                                   any recovery or payment with respect to Ghost Ship Fire Claims shall be limited solely to
24                                 amounts available under the Debtors’ Insurance.
                               (c) Impairment and Voting: Unimpaired; Not entitled to vote on the Plan.
25                             (a) Description: Any Claim against the Debtors by an employee of the Debtors for the payment
                                   of workers’ compensation benefits under applicable law.
26            Workers’
                               (b) Treatment: Workers’ Compensation Claims shall not be affected by the Chapter 11 Cases
            Compensation
                                   and on and after the Effective Date holders shall be entitled to pursue their Claims against
27             Claims
                                   the Reorganized Debtors.
                               (c) Impairment and Voting: Unimpaired; Not entitled to vote on the Plan.
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                                  (a) Description: Any Claim against the Utility arising solely from (i) amounts due to the
 1                                    CAISO, PX, and/or various market participants based on purchases or sales of electricity,
                                      capacity, or ancillary services by the Utility and other market participants in markets
 2                                    operated by the CAISO and the PX that are subject to determination by FERC in refund
                                      proceedings bearing FERC Docket Nos. EL00-95-000 and EL00-98-000 and related
 3           2001 Utility
                                      subdockets, and (ii) amounts due under any settlement agreements, allocation agreements,
                                      escrow agreements, letter agreements, other written agreements, or court orders (including
           Exchange Claims
 4                                    orders entered in the chapter 11 case styled In re California Power Exchange Corporation,
                                      Case No. LA 01-16577 ES) that expressly relate thereto.
 5                                (b) Treatment: On and after the Effective Date, each holder of a 2001 Utility Exchange Claim
                                       shall be entitled to pursue its Claim against the Reorganized Utility as if the Chapter 11
 6                                     Cases had not been commenced.
                                  (c) Impairment and Voting: Unimpaired; Not entitled to vote on the Plan.
 7                               (a) Description: Any Environmental Claim (as defined in the Plan) against the Debtors.
                                 (b) Treatment: On and after the Effective Date, each holder of an Environmental Claim shall
 8          Environmental             be entitled to pursue its Claim against the Reorganized Debtors as if the Chapter 11 Cases
               Claims                 had not been commenced, and each Environmental Order against the Debtors shall also
                                      survive the Effective Date as if the Chapter 11 Cases had not been commenced.
 9                               (c) Impairment and Voting: Unimpaired; Not entitled to vote on the Plan.
                                  (a) Description: Any Claim against a Debtor held either by another Debtor or by a non-Debtor
10                                    affiliate which is controlled by a Debtor (excluding any Claims of an individual).
                                  (b) Treatment: On the Effective Date, all Allowed Intercompany Claims shall either be
11          Intercompany
                                       (i) cancelled (or otherwise eliminated) and receive no distribution under the Plan or
                Claims
                                       (ii) Reinstated, in each case as determined in the sole discretion of the Debtors or the
12                                     Reorganized Debtors, as applicable.
                                  (c) Impairment and Voting: Unimpaired; Not entitled to vote on the Plan.
13                                (a) Description: Any Claims subordinated under section 510(b) of the Bankruptcy Code
                                       arising from rescission of a purchase or sale of a debt security of the Debtors, or for
14                                     damages arising from the purchase or sale of such a debt security, including any related
          Subordinated Debt
                                       claims for reimbursement, contribution or indemnification, but excluding any HoldCo
15             Claims
                                       Rescission or Damage Claims.
                                  (b) Treatment: Allowed Subordinated Debt Claims to be paid in full on the Effective Date.
16                                (c) Impairment and Voting: Unimpaired; Not entitled to vote on the Plan.
                                  (a) Description: Any Interest in the Utility which results or arises from preferred stock issued
17         Utility Preferred          by the Utility.
               Interests          (b) Treatment: Reinstated on the Effective Date.
18                                (c) Impairment and Voting: Unimpaired; Not entitled to vote on the Plan.
                                  (a) Description: Any Interest held in the Utility that is not a Preferred Interest.
           Utility Common         (b) Treatment: Reinstated on the Effective Date.
19             Interests          (c) Impairment and Voting: Unimpaired; Not entitled to vote on the Plan.
20                                (a) Description: Any Interests held in PG&E Corp. immediately prior to the Effective Date,
            HoldCo Other              other than HoldCo Common Interests.
21            Interests           (b) Treatment: Reinstated on the Effective Date.
                                  (c) Impairment and Voting: Unimpaired; Not entitled to vote on the Plan.
22

23            C.     Treatment and Satisfaction of Fire Claims

24           As described more fully in Articles IV and VI of the Plan and as provided in the settlements
       embodied in the Tort Claimants RSA, Subrogation Claims RSA, and Public Entities Plan Support
25     Agreements, to the extent you hold a Fire Claim, such Claim shall be satisfied as follows:

26                 1.          Fire Victim Claims.
27           All Fire Victim Claims that have been or could be asserted against the Debtors will be
       “channeled” to the Fire Victim Trust, a trust created under the Plan for the purpose of evaluating and
28

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       paying all Fire Victim Claims. The effect of “channeling” the Fire Victim Claims to the Fire Victim
 1     Trust is that all Fire Victim Claims can only be pursued through and paid from the Fire Victim Trust
 2     and the Debtors and Reorganized Debtors will not have any liability for Fire Victim Claims. All
       determinations of Fire Victim Claims, including their eligibility to receive payment from the Fire Victim
 3     Trust and in what amount, shall be determined solely under the Fire Victim Claims Resolution
       Procedures and all such determinations shall be final with no recourse to any court.
 4
               A Fire Victim Claim is any Claim against the Debtors arising from the Fires listed on Exhibit A
 5     attached to the Plan. Fire Victim Claims do not include claims airing from (i) the Ghost Ship Fire
       (December 2, 2016), (ii) the Kincade Fire (started on October 23, 2019), or (iii) any fire that occurred
 6
       after January 29, 2019.
 7
                The Fire Victim Trust will be overseen by a trustee (“Fire Victim Trustee”), and the Fire Victim
 8     Trustee and a claims administrator (“Claims Administrator”) will oversee the administration,
       resolution and allocation of claims. There will also be an oversight committee formed to consult with
 9     the Fire Victim Trustee and to exercise consent rights over certain of the Fire Victim Trust’s actions
       (the “Fire Victim Trust Oversight Committee”). The rights and responsibilities of the Fire Victim
10
       Trustee, the Claims Administrator, and the Fire Victim Trust Oversight Committee are set forth in the
11     Fire Victim Trust Agreement. The Fire Victim Trust Agreement will be included in the Plan Supplement
       to be filed with the Bankruptcy Court by May 1, 2020.
12
              The following information has been provided by the Tort Claimants Committee.
13
                                                         *****
14
              The Fire Victim Trustee, the Claims Administrator, and their staff will establish a distribution
15     process that provides fair and expeditious compensation to Fire Victim Claimants.
16
              Nearly 83,000 Fire Victim Claims have been filed in the Chapter 11 Cases. Over 95% of the
17     proof of claim forms submitted by those Fire Victims specified the amount of the claim was “unknown”.

18             As a result, it is not currently possible to predict what any specific claimant will be paid or a
       percentage recovery on such Claim any specific claimant should expect out of the approximately $13.5
19     billion in total consideration that will be transferred to the Fire Victim Trust under the Plan.
20             An intensive analysis is underway to determine which of these fire victim Claims are eligible for
       compensation. For example, over 4,000 claims identified loss addresses well outside the perimeter of
21
       any of the relevant fire zones.
22
                In the upcoming months, the Fire Victim Trustee will develop budgets related to various
23     categories of fire damages. That budgeting process may reveal that a small percentage of claimants may
       seek amounts large enough to impact the recovery of all remaining claimants in a capped fund. As a
24     result, special consideration may be given to the treatment of those claims in the discretion of the Trustee
       and the Claims Administrator to ensure that all other claimants receive fair and expeditious
25
       compensation.
26
              The Fire Victim Trustee and Claims Administrator will evaluate and determine the amount
27     payable for each valid Fire Victim Claim through a variety of methods, including consideration of
       publicly available information, expert analysis, and material submitted by claimants. Stipulated
28

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       judgments, settlements or similarly liquidated claims shall be paid as expeditiously as the budgeting
 1     process permits. Preliminary distributions may be made to enable claimants timely access to a portion
 2     of their payment, which will then be supplemented as additional claims are resolved.

 3            Based on the preliminary budgeting and analysis performed to date, general estimates are being
       developed concerning potential recovery ranges for real and personal property losses based on the
 4     following sources of information:
 5        •   insurance claim file data reflecting payments made to claimants following the 2017 North Bay
              Fires and the 2018 Camp Fire;
 6

 7        •   an analysis of publicly available data representing the cost of property values in the affected
              areas prior to the fires;
 8
          •   published reconstruction and/or rebuilding costs in the affected counties; and
 9
          •   detailed claims information concerning the 2015 Butte Fire.
10
              Real property losses will be calculated, after setting off available insurance policy limits, using
11
       the diminished value of the property or calculated probable cost of rebuilding based upon publicly
12     available data, contractor estimates, and documentary proof submitted by individual claimants.

13            These estimates may be adjusted depending on a variety of factors, including but not limited to:

14        •   the total number of claims that the Fire Victim Trustee and his staff determines are valid;
15        •   caps on damages in accordance with California law;
16        •   the Trustee’s analysis and adjustment of the reasonable and fair value of the claims; and
17
          •   the total amount of insurance paid and/or to be paid to each claimant.
18
              Business and commercial losses are expected to be paid based upon data related to business
19     income, business inventory and similar losses as specified in the Claims Resolution Procedures.
       Distributions for business losses will take into consideration amounts received or potentially recoverable
20     from applicable insurance policies.
21            Distribution estimates for emotional distress, pain and suffering, bodily injury, nuisance, zone
22     of danger evacuations, other non-economic damage claims, and wrongful death cannot be predicted
       without an analysis of each individual claim and an understanding of the impact the fire had on that
23     claimant in light of awards and payments made in prior similar cases.

24             If the Fire Victim Trustee issues a determination approving a Fire Victim Claim award as
       provided in the Fire Victim Claim Resolution Procedures, and that award is accepted by the claimant,
25     the Fire Victim Trust will pay the approved Fire Victim Claim per the terms of the Plan and related
26     documents. The Fire Victim Trustee may deny invalid, ineligible and fraudulent Fire Victim Claims. If
       a claimant does not agree with the Fire Victim Trustee’s determination, the Fire Victim Trust and the
27     Fire Victims Claims Resolution Procedures enable a claimant to appeal that decision to a panel of

28

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       neutrals experienced in resolution of wildfire claims and related matters pursuant to the Fire Victim
 1     Trust Agreement.
 2
                                                          *****
 3
               The Fire Victim Trust will be funded with cash and stock of reorganized PG&E Corp. with an
 4     aggregate value of approximately $13.5 billion. The Fire Victim Trust will hold and sell the stock, and
       nothing in the Plan or the Fire Victim Trust Agreement requires stock to be distributed to individual Fire
 5     Victims. The Fire Victim Trust will also be assigned certain rights and causes of action that the Fire
       Victim Trust will have the authority to pursue for the benefit of holders of Fire Victim Claims. More
 6     specifically, the following will be contributed to the Fire Victim Trust on the Effective Date of the Plan:
 7
              (i)     $6.75 billion in cash, of which $5.4 billion will be paid on the Plan Effective Date, $650
 8                    million is expected to be paid by January 15, 2021, and $700 million is expected to be
                      paid by January 15, 2022;
 9
              (ii)    $6.75 billion in common stock of Reorganized PG&E Corp. (using an equity value equal
10                    to 14.9 multiplied by the Normalized Estimated Net Income as of a date to be agreed
                      upon among the parties to the Tort Claimants RSA), representing not less than 20.9% of
11
                      the outstanding common stock of Reorganized PG&E Corp. as of the Effective Date;
12
              (iii)   the assignment by the Debtors and Reorganized Debtors of the Assigned Rights and
13                    Causes of Action; and

14            (iv)    the assignment of rights under the 2015 Insurance Policies to resolve any claims related
                      to Fires in those policy years, other than the rights of the Debtors to be reimbursed under
15                    the 2015 Insurance Policies for claims submitted to and paid by the Debtors prior to the
                      Petition Date.
16

17             While the cash and stock contributed to the Fire Victim Trust have an aggregate nominal value
       of approximately $13.5 billion, the market value of the New HoldCo Common Stock on the Effective
18     Date could be greater or less than $6.75 billion based on the trading value of New HoldCo Common
       Stock on such date or any subsequent date. In addition, the value of the Assigned Rights and Causes of
19     Action that will be contributed to the Fire Victim Trust is currently unknown, but the Plan Proponents
       believe it is not material in the context of the aggregate consideration to be transferred to the Fire Victim
20     Trust.
21
               The aggregate amount of Fire Victim Claims that will ultimately be eligible for payment from
22     the Fire Victim Trust is currently unknown. To the extent the Fire Victim Trust cannot pay all approved
       Fire Victim Claims in full, they will be paid in an equal percentage (that is, pro rata).
23
              To the extent any Allowed Fire Victim Claim is covered by insurance, the insurance coverage
24     amounts may be credited to the Fire Victim Trust in accordance with the Fire Victim Trust Agreement.
       Holders of Subrogation Wildfire Claims and their respective predecessors in interest (if any) are
25
       negotiating the scope of production of non-privileged information to the Fire Victim Trust relating to
26     Fire Victim insurance claims at no cost to the Fire Victim Trust. In addition, to the extent a holder of
       an Allowed Fire Claim received or will receive a distribution from the Wildfire Assistance Program,
27     such Fire Victim Claim will be reduced by the full amount of distribution by the Wildfire Assistance

28

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       Program as provided under the Plan and in accordance with the terms of the Fire Victim Trust
 1     Agreement.
 2
               Confirmation and implementation of the Plan presents certain benefits and risks to the holders
 3     of Fire Victim Claims, and those benefits and risks should be considered when deciding how to vote on
       the Plan. These risks include the risk factors set forth in item 1A of the Debtors’ 2019 Form 10-K, and
 4     the risks described below.
 5                    Certain Significant Benefits of the Plan.
 6             Timing: The Plan provides for compensation to holders of Fire Victim Claims with greater
       certainty and in a more expedited manner than may otherwise be available. The State of California’s
 7
       enactment of AB 1054 requires that the Plan be confirmed by June 30, 2020 for the Debtors to participate
 8     in the Go-Forward Wildfire Fund. There is no reason to believe that the California legislature will
       amend such legislation if that deadline is not met. As a result, if this Plan is not confirmed by June 30,
 9     2020, distributions on account of Fire Victim Claims will be delayed and may be reduced. The delay
       may range from months and perhaps years. In addition to a delay in distributions, failure to meet this
10     legislative deadline could provide significant risks for holders of Fire Victim Claims that may arise as a
11     result of any wildfires during the 2020/2021 fire seasons.

12            Amount: The Plan provides for $13.5 billion in nominal value to be distributed to the Fire Victim
       Trust. In the event that the Plan is not approved, it is not known how much would be set aside or
13     available for Fire Victim Claims
14                     Significant Claims Asserted Against Fire Victim Trust. A number of governmental
       entities, including FEMA and Cal OES as described above, have filed claims against the Debtors for
15     large or unliquidated amounts that, if Allowed, would be payable from the Fire Victim Trust
16     (the “Government Claims”), including the Federal Agency Fire Claims and the State Agency Fire
       Claims. The asserted Government Claims are in the approximate total amount of $7.7 billion. Similarly,
17     certain businesses have filed claims against the Debtors for large or unliquidated amounts that, if
       Allowed, would be payable from the Fire Victim Trust (the “Business Claims”). For example,
18     Adventist Health System/West and Feather River Hospital have filed claims seeking over $1 billion.
19            As noted above, the Plan Proponents have reached tentative agreements in principle to settle the
       Federal Agency Fire Claims and the State Agency Fire Claims that are channeled to the Fire Victim
20
       Trust under the Plan, however, to the extent the agreements are not finalized, and the Government
21     Claims and the Business Claims become Allowed Fire Victim Claims, the payments to other holders of
       Fire Victim Claims could be substantially reduced.
22
                       Potential Change in Value of Common Stock of Reorganized PG&E Corp. As set
23     forth more fully in Section IV(c)(1)(iii) above, the Fire Victim Trust will be funded with approximately
       $6.75 billion in common stock of Reorganized PG&E Corp. valued in accordance with the terms of the
24
       Tort Claimants RSA. The market value of that common stock may fluctuate due to a variety of factors,
25     including, but not limited to: (i) the risk of additional wildfires, (ii) general market and economic
       conditions and (iii) actual or anticipated changes in operating results. These factors could cause the
26     market value of common stock in Reorganized PG&E Corp. to increase or decrease, and those changes
       in price could have a substantial effect (both positively or negatively) on the assets of the Fire Victim
27     Trust. As set forth more fully in Section II(e)(1) above, the Plan contemplates the Debtors participating
       in the Go-Forward Wildfire Fund created pursuant to AB 1054, which may reduce Reorganized PG&E’s
28

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       liabilities for future wildfires occurring after July 12, 2019. While there are no limitations on the Fire
 1     Victim Trust selling its stock under the applicable corporate documents, the ability of the Fire Victim
 2     Trust to do so may be limited by applicable securities laws or contractual provisions, such as those that
       may be found in a registration rights agreement. If the Fire Victims Trust is considered an “affiliate” of
 3     Reorganized PG&E or the common stock is deemed to be “restricted” within the meaning of applicable
       securities laws, then sales of common stock by the Fire Victim Trust must be registered for resale under
 4     applicable securities or sold in accordance with certain time, volume and manner of sale limitations.
       Furthermore, the Fire Victim Trust may take steps to mitigate its exposure to fluctuations in the market
 5     price of Reorganized PG&E Corp. common stock. However, there is no assurance that the Fire Victim
 6     Trust will be able to enter into arrangements that fully protect the value of the common stock
       consideration it is to receive under the Plan.
 7
                      Administrative Expense Claims and Non-Fire Claims. It is not possible to fully
 8     quantify the aggregate amount of Administrative Expenses payable by the Debtors, such as any claims
       arising from the Kincade Fire, Public Safety Power Shutoffs, as well as certain General Unsecured
 9     Claims and subordinated claims either related to securities fraud claims or otherwise. To the extent
10     these claims are not paid or reserved for on the Effective Date, they could negatively affect the value of
       the Reorganized PG&E Corp. common stock held by the Fire Victim Trust, which could reduce the
11     amount of Cash ultimately available to distribute to the holders of Fire Victim Claims.

12                      Cash Payments after Effective Date. Under a Tax Benefits Payment Agreement 7
       contemplated by the Plan, the Reorganized Debtors have agreed to pay the Fire Victim Trust $650
13     million on or about January 15, 2021 and another $700 million on or about January 15, 2022, subject to
       acceleration in certain circumstances. These payments relate to certain tax benefits that the Reorganized
14
       Debtors would have otherwise received for net operating losses, deductions arising from the payment of
15     Fire Victim Claims and otherwise. To the extent there is a shortfall, Reorganized PG&E has agreed to
       provide a letter of credit for any remaining amounts to be paid to the Fire Victim Trust on January 15,
16     2022. To the extent that the aggregate amount of these payments does not equal $1.35 billion,
       Reorganized PG&E has agreed to a stipulated judgment for any difference. In the event there is a change
17     in control of the Reorganized PG&E or the Reorganized Utility obtains financing of the tax benefits, the
18     full $1.35 billion will be due and payable to the Fire Victim Trust. While there are protections that have
       been negotiated for Reorganized PG&E’s failure to make such payments, there is risk of non-payment
19     either by way of future wildfire or general underlying credit risks.

20                 2.       Subrogation Wildfire Claims. On the Effective Date, the Subrogation Wildfire
       Trust will be established to administer, process, settle, resolve, liquidate, satisfy and pay all Subrogation
21     Wildfire Claims, which Claims will be channeled to the trust. On the Effective Date, the Subrogation
       Wildfire Trust will be funded with $11 billion in Cash, to be distributed to holders of Allowed
22
       Subrogation Wildfire Claims in accordance with the terms of the Plan, Confirmation Order, Subrogation
23     Wildfire Trust Agreement and Subrogation Wildfire Claim Allocation Agreement. 8 The Subrogation
       Trust Beneficiary Distribution Request Form will be attached as Exhibit C to the Subrogation Wildfire
24     Trust Agreement, and sets forth the information holders of Subrogation Wildfire Claims will be asked

25     7
           The Tax Benefits Payment Agreement has not yet been finalized.
26     8
         On the Effective Date, the Reorganized Debtors will also pay the reasonable, documented, and
27     contractual professional fees of certain professionals of the Ad Hoc Subrogation Committee up to an
       aggregate amount of $55 million.
28

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       to submit to the Subrogation Wildfire Trust for review. The Subrogation Claims Review Protocol will
 1     be attached as Exhibit D to the Subrogation Wildfire Trust Agreement, and will govern the Subrogation
 2     Wildfire Trust’s claims review process. Electronic copies of the Subrogation Wildfire Trust Agreement
       and the exhibits thereto will be made available on the Solicitation Agent’s website,
 3     https://restructuring.primeclerk.com/pge/Home-Index.

 4            A Subrogation Wildfire Trustee and Subrogation Wildfire Trust Advisory Board will be
       appointed to administer and oversee the Subrogation Wildfire Trust. The Subrogation Wildfire Trust
 5     Advisory Board will consist of three (3) initial members selected by certain holders of the Subrogation
       Wildfire Claims in accordance with the Subrogation Wildfire Trust Agreement and the Subrogation
 6
       Wildfire Claim Allocation Agreement. The rights and responsibilities of the Subrogation Wildfire
 7     Trustee and the Subrogation Wildfire Trust Advisory Board will be set forth in the Subrogation Wildfire
       Trust Agreement.
 8
              Pursuant to Sections 1.54 and 7.3 of the Plan, Subrogation Wildfire Claims shall be Disputed
 9     unless held by a claimant that is a party to both the Subrogation Claims RSA and the Subrogation
       Wildfire Claim Allocation Agreement, and no payment or distribution provided under the Plan shall be
10
       made on account of Disputed Subrogation Wildfire Claims unless and until they are Allowed by Final
11     Order of the Bankruptcy Court or resolved in accordance with the Subrogation Wildfire Trust
       Agreement. Holders of approximately 96% of all Subrogation Wildfire Claims (in dollar amount) have
12     signed both agreements, and may receive Plan distributions pursuant to the terms of the Subrogation
       Wildfire Trust Agreement and the Subrogation Wildfire Claims Allocation Agreement. Any holder of
13     Subrogation Wildfire Claims that is not already a party, may become a party to the Subrogation Claims
       RSA by executing a joinder agreement substantially in the form attached to the Subrogation Claims
14
       RSA. Any holder of Subrogation Wildfire Claims that would like to review and sign the Subrogation
15     Wildfire Claim Allocation Agreement should contact counsel to the Ad Hoc Subrogation Group for a
       non-disclosure agreement using the following contact information:
16
                Willkie Farr & Gallagher LLP
17              Counsel for the Ad Hoc Subrogation Group
                787 Seventh Avenue
18
                New York, New York 10019-6099
19              Attn: Matthew A. Feldman, Joseph G. Minias, Benjamin P. McCallen, Daniel I. Forman
                Telephone: (212) 728-8000
20              Facsimile: (212) 728-8111
                Email: mfeldman@willkie.com, jminias@willkie.com, bmccallen@willkie.com,
21              dforman@willkie.com
22                  3.     Public Entities Wildfire Claims. On the Effective Date, or as soon as reasonably
23     practicable thereafter, but in no event later than thirty (30) days after the Effective Date, a trust account
       will be funded by the Reorganized Debtors with $1.0 billion in Cash, to be distributed to the Public
24     Entities in accordance with the Plan and the Public Entities Plan Support Agreements.

25             The Reorganized Debtors will also establish on the Effective Date the Public Entities Segregated
       Defense Fund for the benefit of the Public Entities in the amount of $10 million, which funds will be
26     used by the Reorganized Debtors solely to reimburse the Public Entities for any and all legal fees and
       costs associated with the defense or resolution of certain third party claims against a Public Entity, all
27
       in accordance with the Public Entities Plan Support Agreements. The segregated defense fund will be
28     maintained by the Reorganized Debtors until the later of (i) the expiration of the applicable statute of

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       limitations period for the applicable third party claims and (ii) the conclusion of all litigation, including
 1     appeals, involving the applicable third party claims.
 2
               The Public Entities Plan Support Agreements provide that each may be terminated by the
 3     applicable Public Entity under certain circumstances, including (i) if FEMA or Cal OES fails to agree
       that no reimbursement is required from the Public Entities on account of assistance rendered by either
 4     agency in connection with the Fires, and (ii) by any individual Public Entity, if a material amount of
       Public Entities Third Party Claims is filed against such Public Entity and such Public Entity and such
 5     Public Entities Third Party Claims are not released pursuant to the Plan.
 6
              D.    Treatment and Satisfaction of All Other Prepetition Claims and Interests
 7
              As set forth in the above chart, all prepetition claims against the Debtors (other than Fire Victim
 8     Claims, Subrogation Wildfire Claims, the Public Entities Wildfire Claims, Utility Impaired Senior Note
       Claims, Utility Short Term Senior Note Claims, Utility Funded Debt Claims, and HoldCo Rescission or
 9     Damage Claims) are unimpaired under the Plan and, therefore, under section 1126(f) of the Bankruptcy
       Code, are deemed to accept and thus are not entitled to vote on the Plan.
10

11             Notwithstanding any provision of the Plan to the contrary, distributions to holders of Allowed
       Funded Debt Claims and Allowed Utility Senior Note Claims shall be made to or at the direction of the
12     applicable Funded Debt Trustee, which shall, to the extent directed by the applicable Funded Debt
       Trustee, act as Disbursing Agent for distributions to the respective Holders of Allowed Funded Debt
13     Claims and Allowed Utility Senior Note Claims under the applicable Funded Debt Documents. The
       Funded Debt Trustees, as applicable, may transfer such distributions or direct the transfer of such
14     distributions by the Debtors or through the facilities of DTC (whether by means of book-entry exchange,
15     free delivery, or otherwise) and will be entitled to recognize and deal for all purposes under the Plan
       with holders of Allowed Funded Debt Claims or Allowed Utility Senior Note Claims to the extent
16     consistent with the customary practices of DTC or the customary practices for administrative agents
       under syndicated credit facilities (as applicable). Distributions in respect of Allowed Funded Debt
17     Claims and Allowed Utility Senior Notes Claims shall be subject in all respects to the right of the
       applicable Funded Debt Trustee to assert its Charging Lien, if any, against such distributions. All
18
       distributions to be made to holders of Allowed Utility Senior Note Claims shall be eligible to be
19     distributed through the facilities of DTC and as provided for under the applicable Funded Debt
       Documents.
20
               Pursuant to the Plan, all such claims that are to be paid in full in Cash on the Effective Date shall
21     also receive postpetition interest from the Petition Date to the Effective Date. Such postpetition interest
       shall be at the Federal Judgment Rate in accordance with the decision of the Bankruptcy Court, dated
22     December 30, 2019 [Docket No. 5226].
23
               Also, as set forth in the above chart, holders of common stock of PG&E Corp. shall retain their
24     shares, subject to dilution from common stock to be issued under the Plan, including such common stock
       to be issued to the Fire Victim Trust as described above.
25

26

27

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              E.       Equity Financing9
 1
               In order to finance the transactions contemplated by the Plan, the Debtors expect to raise $9
 2
       billion through one or more issuances of new PG&E Corp. common stock. The equity issuances could
 3     include one or more of the following structures: public or private offerings in the equity capital markets
       (a “Market Offering”), a rights offering to holders of PG&E Corp.’s common stock (a “Rights
 4     Offering”) or drawing under the Equity Backstop Commitment Letters between PG&E Corp. and the
       investors party thereto (the “Backstop Parties”). Although the amounts, terms and conditions of a
 5     Market Offering or Rights Offering have not been determined, the Equity Backstop Commitment Letters
       outline the circumstances under which the Debtors will be permitted to undertake these offerings and,
 6
       in the case of the Rights Offering, outline certain terms and conditions that must be included as part of
 7     the Rights Offering.

 8                 •    Market Offering: PG&E Corp. may undertake a Market Offering if the per share price
                        at which shares of common stock are offered in the Market Offering corresponds to an
 9                      implied price to earnings ratio of at least 13.5 times (subject to adjustment). The implied
                        price to earnings ratio would be measured based on PG&E Corp.’s estimated net income
10
                        for 2021 and the expected fully diluted number of shares of PG&E Corp. common stock
11                      that will be outstanding as of the Effective Date.

12                 •    Rights Offering: PG&E Corp. may undertake a Rights Offering to holders of PG&E
                        Corp.’s common stock if the subscription price of the rights issued in the Rights Offering
13                      corresponds to an implied price to earnings ratio of 12.0 times (subject to adjustment)
                        based on Normalized Estimated Net Income as provided in the Equity Backstop
14
                        Commitment Letters. In a Rights Offering, PG&E Corp. would distribute rights to
15                      holders of PG&E Corp. common stock ratably based on the number of shares of common
                        stock they hold. The rights would be freely transferable and would include
16                      oversubscription privileges, meaning that holders that exercise their rights may request
                        to subscribe for any shares of common stock that were not subscribed for by other holders
17                      of rights. The rights would also contain such terms and conditions as are reasonably
18                      advisable to avoid an “ownership change” within the meaning of Section 382 of the
                        Internal Revenue Code.
19
                   •    Backstop Draw: To the extent that PG&E Corp. does not raise the necessary equity
20                      capital through a Market Offering or Rights Offering, PG&E Corp. expects to draw on
                        the commitments under the Equity Backstop Commitment Letters, which provide for up
21                      to $12 billion of proceeds from the sale of shares to the Backstop Parties. The Backstop
                        Parties would purchase shares under the Equity Backstop Commitment Letters at a price
22
                        that corresponds to an implied price to earnings ratio of 10.0 times (subject to adjustment)
23                      based on Normalized Estimated Net Income as provided in the Equity Backstop
                        Commitment Letters (the “Backstop Price”). In order to draw on the commitments
24                      under the Equity Backstop Commitment Letters, certain terms and conditions must be
                        satisfied, including that the Bankruptcy Court approve the Equity Backstop Commitment
25                      Letters, and the Backstop Parties have the right to terminate the Equity Backstop
26                      Commitment Letters under certain circumstances. As of the date of this Disclosure
       9
27      The following is a summary of the equity financing contemplated by the Plan and is qualified in its
       entirety by reference to the terms of the applicable operative documents.
28

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                      Statement, the Equity Backstop Commitment Letters have not been approved by the
 1                    Bankruptcy Court. In addition, the amount of the commitments under the Equity
 2                    Backstop Commitment Letters is subject to adjustment in the event that the Debtors
                      obtain capital from certain alternative capital sources.
 3
               It is important to note that any equity issuance on the Effective Date will be dilutive to existing
 4     shareholders, with a Market Offering being the least dilutive and a drawing under the Equity Backstop
       Commitment Letters being the most dilutive. In addition, if the Equity Backstop Commitment Letters
 5     are approved by the Bankruptcy Court, PG&E Corp. will owe a premium to the Backstop Parties
       (the “Equity Commitment Premium”), generally payable in shares of common stock of Reorganized
 6
       PG&E Corp., equal to 119 million shares in the aggregate. 10 In the event the market value of those 119
 7     million shares would be less than $764 million based on trading prices for the 20 business days
       immediately following the Effective Date, the Backstop Parties will receive additional shares so that
 8     they receive at least $764 million of aggregate value, up to an aggregate cap of approximately 139
       million shares. The value of the Equity Commitment Premium on the Effective Date will depend on the
 9     market value of PG&E Corp.’s common stock and the total number of shares of common stock issued
10     on the Effective Date pursuant to the Debtors’ Plan. However, assuming that the Debtors implement
       the capital structure described herein by drawing on the equity backstop commitments and based on the
11     Debtors’ forecasted net income, the value of the Equity Commitment Premium would be approximately
       $1.2 billion at the currently estimated Backstop Price. The value of the Equity Commitment Premium
12     could exceed this amount in the event that PG&E Corp. successfully consummates a marketed equity
       offering or rights offering in lieu of drawing on the equity backstop commitments or if the Debtors
13     implement a more leveraged capital structure. Payment of the Equity Commitment Premium on the
14     Effective Date will also be dilutive to existing shareholders.

15            If PG&E Corp. determines to undertake a public Market Offering or Rights Offering, it will
       announce the terms of any offering at a later date through one or more disclosure documents that comply
16     with applicable law, including the Securities Act. In the case of a Rights Offering, all PG&E Corp.
       shareholders as of a record date to be determined by the PG&E Corp. Board of Directors will have the
17     opportunity to participate.
18
               Termination of the Equity Backstop Commitment Letters could prevent the Debtors from
19     consummating the Plan. There can be no assurance that the conditions precedent set forth in the Equity
       Backstop Commitment Letters will be satisfied or waived or that events or circumstances will not occur
20     that would permit the Backstop Parties to terminate the Equity Backstop Commitment Letters. Under
       certain conditions in connection with the termination of the Equity Backstop Commitment Letters, as
21     more fully described therein, the Backstop Parties may be eligible to be paid all or a portion of the Equity
       Commitment Premium. Further, under certain conditions, including in the event that a plan of
22
       reorganization for the Debtors that is not the Plan is confirmed by the Bankruptcy Court, the Backstop
23     Parties may be eligible to be paid the Equity Commitment Premium in cash. For a detailed description

24
       10
          The Equity Commitment Premium is generally payable in stock; however, in the following limited
25     circumstances each Backstop Party may elect to be paid in stock or cash: (i) PG&E Corp. exercises its
26     fiduciary out to terminate the Equity Backstop Commitment Letters in order to enter into a transaction
       for the sale of the company or (ii) a plan of reorganization other than the Debtors’ Plan is confirmed. If
27     paid in cash, the Equity Commitment Premium would be approximately $764 million (6.364% of the
       full $12 billion commitment).
28

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       of the Equity Backstop Commitment Letters and the Equity Commitment Premium thereunder, see the
 1     Exit Financing Motion.
 2
              F.    Debt Financing11
 3
                In addition to the equity financing, the Plan contemplates incurrence of $4.75 billion of new
 4     PG&E Corp. debt (the “New HoldCo Debt") and $33.35 billion of Utility debt (the “New Utility
       Debt”). The $33.35 billion of Utility debt is expected to consist of (a) $9.575 billion of reinstated
 5     prepetition senior notes, (b) $11.85 billion of new senior notes to be issued to holders of prepetition
 6     senior note claims, (c) $5.925 billion of new senior notes or credit facilities to be issued in the market
       for cash (the “New Senior Utility Debt”) and (d) $6.0 billion of new short-term debt expected to be
 7     refinanced after the Effective Date. The New Senior Utility Debt will be used to, among other things,
       satisfy in full prepetition high-coupon Utility bonds and other prepetition obligations, and to fund the
 8     payment in full, in cash, of the Debtors obligations under the DIP Facilities. Pursuant to the terms of
       the Debt Backstop Commitment Letters, in the event the New HoldCo Debt or the New Senior Utility
 9     Debt is not issued on or prior to the Effective Date, certain money-center banks will fund investment
10     grade 364-day “bridge” loan facilities (the “Backstop Debt Facilities”) in aggregate amounts of up to
       $5.0 billion for PG&E Corp. and $5.825 billion for the Utility. In addition, the Debtors have executed
11     fee letters (as amended, the “Backstop Debt Fee Letters”), which provide for, among other things, the
       payment of certain fees associated with the Backstop Debt Facilities, and engagement letters (the “Debt
12     Financing Engagement Letters”), which engage the same banks to arrange (i.e., market) the New Debt.
13            The Debtors do not currently anticipate drawing on the Backstop Debt Facilities, but instead
       expect to issue new long-term bonds and incur new credit facilities on market terms to fund their
14
       emergence. Nevertheless, the Backstop Debt Facilities provide assurance that sufficient funds at an
15     acceptable price will be available if the New HoldCo Debt or the New Senior Utility Debt financings
       cannot be consummated, which is necessitated here by the requirement to obtain confirmation of the
16     Plan on a specific timeline under AB 1054.
17             As with the Equity Backstop Commitment Letters, termination of the Debt Backstop
       Commitment Letters could prevent the Debtors from consummating the Plan and there can be no
18
       assurance that the conditions precedent set forth in the Debt Backstop Commitment Letters will be
19     satisfied or waived or that events or circumstances will not occur that would permit the parties thereto
       to terminate the Debt Backstop Commitment Letters. Under certain conditions in connection with the
20     termination of the Debt Backstop Commitment Letters, as more fully described therein, the parties
       thereto may be eligible to be paid all or a portion of the fees due under the Backstop Debt Fee Letters,
21     in a maximum aggregate amount of approximately $75 million. For a detailed description of the Equity
       Backstop Commitment Letters and the commitment premiums thereunder, see the Exit Financing
22
       Motion.
23

24

25

26
       11
27       The following is a summary of the debt financing contemplated by the Plan and is qualified in its
       entirety by reference to the terms of the applicable operative documents.
28

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              G.    Injunction, Exculpation, Release, and Related Provisions
 1
               The Plan generally provides that subject to the occurrence of the Effective Date, upon
 2
       confirmation of the Plan, the provisions of the Plan shall bind every holder of a Claim against or Interest
 3     in the Debtors and such holders’ respective successors and assigns.

 4            Below is a summary of important provisions in the Plan that may affect your rights as a
       holder of a Claim against or Interest in the Debtors. Please do not rely solely on this summary to
 5     understand how your rights may be impacted, but refer also to the specific provisions of the Plan
       cross-referenced below and carefully read the relevant Plan provisions in their entirety.
 6

 7             The United States Trustee and the Creditors Committee believe the releases and
       exculpations provided for in the Plan are too broad. Additionally, PERA asserts that Article 10.6
 8     of the Plan is overly broad. The Plan Proponents disagree with these assertions.

 9                 1.      Releases and Exculpation.

10                      (a) Releases by the Debtors of Certain Parties. As set forth in more detail in
       Section 10.9(a) of the Plan, and, except for the rights that remain in effect from and after the
11     Effective Date to enforce the Plan and the Plan Documents, and except for the Assigned Rights
12     and Causes of Action that will be contributed to the Fire Victim Trust, the Released Parties 12 are
       deemed forever released and discharged by the Debtors, to the maximum extent permitted by law
13     and unless barred by law, from any and all claims, interests, Causes of Action, and other liabilities
       asserted or assertable on behalf of the Debtors, the Reorganized Debtors, or the Debtors’ estates
14     based on or relating to the Debtors, the Fires, the Chapter 11 Cases (including, among other
       things, related settlement agreements, transactions, business or contractual arrangements), and
15     the subject matter of, or transactions or events giving rise to, any Claim or Interest that is treated
16     in the Plan.

17                     (b) Consensual Releases by Holders of Claims and Interests of the Debtors and
       Certain Parties. As set forth in more detail in Sections 10.9(b) and (c) of the Plan, and except for
18     the Assigned Rights and Causes of Action that will be contributed to the Fire Victim Trust, certain
       Releasing Parties, 13 including any holder of a Claim or Interest that is solicited and voluntarily
19

20     12
         The “Released Parties” are defined in the Plan as: (i) the Debtors and Reorganized Debtors; (ii) the
       Tort Claimants Committee; (iii) the DIP Facility Agents; (iv) the DIP Facility Lenders; (v) the Exit
21     Financing Agents; (vi) the Exit Financing Lenders; (vii) the Backstop Parties; (viii) the Public Entities
22     Releasing Parties; (ix) the Consenting Creditors (solely in their capacity as holders of Subrogation
       Wildfire Claims); (x) the Shareholder Proponents; (xi) the Consenting Noteholders; (xii) the Funded
23     Debt Trustees; and (xiii) with respect to each of the foregoing entities (i) through (xii), such entities’
       predecessors, successors, assigns, subsidiaries, affiliates, managed accounts and funds, current and
24     former officers and directors, principals, equity holders, members, partners, managers, employees,
       subcontractors, agents, advisory board members, restructuring advisors, financial advisors, attorneys,
25     accountants, investment bankers, consultants, representatives, management companies, fund advisors
26     (and employees thereof), and other professionals, and such entities’ respective heirs, executors, estates,
       servants, and nominees, in each case in their capacity as such.
27     13
         The “Releasing Parties” are defined in the Plan as: (i) the Debtors; (ii) the Reorganized Debtors, (iii)
28     any holder of a Claim or Interest that is solicited and voluntarily indicates on a duly completed Ballot

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       indicates on a Ballot that such holder opts into granting the releases set forth in Section 10.9(b) of
 1     the Plan, forever release and discharge the Debtors and other non-debtor Released Parties from
 2     any and all claims, interests, Causes of Action and other liabilities based on or related to, or in any
       manner arising from, in whole or in part, among other things, the Debtors, the Fires, the Chapter
 3     11 Cases (including, among other things, related settlement agreements, transactions, business or
       contractual arrangements), and the subject matter of, or transactions or events giving rise to, any
 4     Claim or Interest that is treated in the Plan.
 5            Any holder of a Claim or Interest who does not indicate on their Ballot that they opt into
 6     granting such releases shall not be a Releasing Party. Additionally, such holder’s decision to opt-
       in or not to the releases shall not in any way affect the classification or treatment of such Claim or
 7     Interest. The holder of a Claim or Interest shall receive the same amount of consideration under
       the Plan whether or not such holder elects to release a party that is not a Debtor in accordance
 8     with the opt-in release procedures set forth in the applicable Ballot.
 9            The holders of Environmental Claims, Workers’ Compensation Claims and 2001 Utility
       Exchange Claims retain the right to assert such Claims against the Reorganized Debtors in
10
       accordance with the terms of the Plan. Furthermore, nothing in the Plan shall be deemed to
11     impose a release by holders of Fire Victim Claims of insurance claims arising under their
       insurance policies against holders of Subrogation Wildfire Claims, other than any rights such
12     holder may elect to release as part of any settlement as set forth in Section 4.25(f)(ii) of the Plan,
       which addresses the “Made-Whole Releases” described further below.
13
                       (c) Made-Whole Releases. As described in Section 4.25(f)(ii) of the Plan, except
14     with respect to any settlement or other agreement regarding the Fire Victim Claims asserted by
15     Adventist Health System/West and Feather River Hospital d/b/a Adventist Health Feather River,
       any settlement or other agreement with any holder or holders of a Fire Victim Claim that fixes
16     the amount or terms for satisfaction of such Claim, including by the Fire Victim Trust, shall
       contain as a condition to such settlement or other agreement that the holder or holders of such
17     Claim contemporaneously execute and deliver a release and waiver of any potential made-whole
18
       submitted on or before the Voting Deadline that such holder opts into granting the releases set forth in
19     Section 10.9(b) of the Plan to the extent permitted by applicable law, provided that for the avoidance of
       doubt any such a holder who does not indicate on their Ballot that they opt into granting such releases
20     shall not be a Releasing Party, provided further that such holder’s decision to opt-in or not to the releases
       shall not in any way affect the classification or treatment of such Claim or Interest; (iv) the DIP Facility
21     Agents; (v) the DIP Facility Lenders; (vi) the Exit Financing Agents; (vii) the Exit Financing Lenders;
22     (viii) the Funded Debt Trustees; (ix) the HoldCo Revolver Lenders; (x) the HoldCo Term Loan Lenders;
       (xi) the Utility Revolver Lenders; (xii) the Utility Term Loan Lenders; (xiii) the holders of Utility Senior
23     Notes Claims; (xiv) the Public Entities Releasing Parties; (xv) the Statutory Committees; (xvi) the
       Backstop Parties; (xvii) the Consenting Creditors; (xviii) the Consenting Noteholders; and (xix) with
24     respect to each of the foregoing entities (i) through (xviii), such entities’ predecessors, successors,
       assigns, subsidiaries, affiliates, managed accounts and funds, current and former officers and directors,
25     principals, equity holders, members, partners, managers, employees, subcontractors, agents, advisory
26     board members, restructuring advisors, financial advisors, attorneys, accountants, investment bankers,
       consultants, representatives, management companies, fund advisors (and employees thereof), and other
27     professionals, and such entities’ respective heirs, executors, estates, servants, and nominees, in each case
       in their capacity as such.
28

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       claims against present and former holders of Subrogation Wildfire Claims, which release shall be
 1     substantially in the form attached to the Plan as Exhibit C thereto.
 2
                          (d) Notice to Holders of Fire Victim Claims Regarding the Release of Made-Whole
 3     Claims Against Their Insurers. The Plan provides, and the Debtors, Shareholder Proponents and
       members of the Ad Hoc Subrogation Group take the position that a release of made-whole claims will
 4     be required as a condition to settling Fire Victim Claims against the Fire Victim Trust. Section
       4.25(f)(ii) of the Plan provides as follows: “4.25(f) . . . the Confirmation Order shall contain the
 5     following findings and order: . . . (ii) . . . any settlement or other agreement with any holder or holders
       of a Fire Victim Claim that fixes the amount or terms for satisfaction of such Claim . . . shall contain
 6
       as a condition to such settlement or other agreement that the holder or holders of such Claim
 7     contemporaneously execute and deliver a release and waiver of any potential made-whole claims
       against present and former holders of Subrogation Wildfire Claims, which release shall be
 8     substantially in the form attached [to the Plan] as Exhibit C.” The Mutual Made Whole Release attached
       to the Plan provides as follows: “Whereas, nothing in this Release is an affirmation, representation, or
 9     an acknowledgment that the Claimant has in fact been fully compensated for their damages covered by
10     the contract of insurance between the Insurer and the Claimant. The parties agree that Court’s approval
       of the Plan and the Claimants’ acceptance of the Total Allocation Award does not establish that the
11     Claimant has been fully compensated under California law for their compensable damages as a result of
       the fire to the extent those damages are covered by insurance.”
12
               Accordingly, when voting on the Plan, holders of Fire Victim Claims should not rely on the
13     draft of the Fire Victim Trust Agreement with respect to this issue, which was filed with the Bankruptcy
       Court subject to further revision on March 3, 2020 [Docket No. 6049]. The Debtors, Shareholder
14
       Proponents, Ad Hoc Subrogation Group, Tort Claimants Committee, and Consenting Fire Claimant
15     Professional Group intend to work together to make sure the final version of the Fire Victim Trust
       Agreement is consistent with the Plan. If any inconsistency remains, the Ad Hoc Subrogation Group
16     may object to confirmation of the Plan on that basis at the appropriate time.
17                     (e) Exculpation. As set forth in more detail in Section 10.8 of the Plan, and
       except for the Assigned Rights and Causes of Action that will be contributed to the Fire Victim
18
       Trust, Exculpated Parties 14 are, to the maximum extent permitted by applicable law, released and
19     exculpated from, any Claim, Interest, obligation, suit, judgment, damage, demand, debt, right,
       Cause of Action, loss, remedy, or liability for any claim (including, but not limited to, any claim
20
       14
          The “Exculpated Parties” are defined in the Plan as: (i) the Debtors and Reorganized Debtors; (ii)
21     the DIP Facility Agents; (iii) the DIP Facility Lenders; (iv) the Exit Financing Agents; (v) the Exit
22     Financing Lenders; (vi) the Funded Debt Trustees; (vii) the HoldCo Revolver Lenders; (viii) the HoldCo
       Term Loan Lenders; (ix) the Utility Revolver Lenders; (x) the Utility Term Loan Lenders; (xi) the Public
23     Entities Releasing Parties; (xii) the Statutory Committees; (xiii) the Backstop Parties; (xiv) the
       Consenting Creditors; (xv) the Shareholder Proponents; (xvi) the Consenting Noteholders; and
24     (xvii) with respect to each of the foregoing entities (i) through (xvi), such entities’ predecessors,
       successors, assigns, subsidiaries, affiliates, managed accounts and funds, current and former officers and
25     directors, principals, equity holders, members, partners, managers, employees, subcontractors, agents,
26     advisory board members, restructuring advisors, financial advisors, attorneys, accountants, investment
       bankers, consultants, representatives, management companies, fund advisors (and employees thereof),
27     and other professionals, and such entities’ respective heirs, executors, estates, servants, and nominees,
       in each case in their capacity as such.
28

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       for breach of any fiduciary duty or any similar duty) in connection with or arising out of the
 1     administration of the Chapter 11 Cases, including, but not limited to, those arising in connection
 2     with or arising out of the Public Entities Plan Support Agreements, the Backstop Commitment
       Letters, the Subrogation Claims RSA, the Tort Claimants RSA, the Noteholder RSA, the Exit
 3     Financing Documents, the Plan Funding, the DIP Facilities, this Disclosure Statement, the Plan,
       the Restructuring Transactions, the Wildfire Trusts (including the Plan Documents, the Claims
 4     Resolution Procedures and the Wildfire Trust Agreements), or any agreement, transaction, or
       document related to any of the foregoing, or the solicitation of votes for, or confirmation of, the
 5
       Plan; the funding or administration of the Plan; and the distribution of property under the Plan,
 6     or other actions taken in furtherance of the Plan. The exculpation does not cover Claims related
       to any act or omission that is determined in a Final Order by a court of competent jurisdiction to
 7     have constituted actual fraud or willful misconduct.

 8                 2.     Injunctions
 9                      (a) General Injunction. As set forth in Section 10.6 of the Plan and restated
       herein, except as otherwise provided in the Plan or in the Confirmation Order, as of the entry of
10
       the Confirmation Order but subject to the occurrence of the Effective Date, all Persons who have
11     held, hold, or may hold Claims or Interests are, with respect to any such Claim or Interest,
       permanently enjoined after the entry of the Confirmation Order from: (i) commencing,
12     conducting, or continuing in any manner, directly or indirectly, any suit, action, or other
       proceeding of any kind (including, any proceeding in a judicial, arbitral, administrative, or other
13     forum) against or affecting, directly or indirectly, a Debtor, a Reorganized Debtor, or an estate or
       the property of any of the foregoing, or any direct or indirect transferee of any property of, or
14
       direct or indirect successor in interest to, any of the foregoing Persons mentioned in this subsection
15     (i) or any property of any such transferee or successor; (ii) enforcing, levying, attaching (including
       any prejudgment attachment), collecting, or otherwise recovering in any manner or by any means,
16     whether directly or indirectly, any judgment, award, decree, or order against a Debtor, a
       Reorganized Debtor, or an estate or its property, or any direct or indirect transferee of any
17     property of, or direct or indirect successor in interest to, any of the foregoing Persons mentioned
18     in this subsection (ii) or any property of any such transferee or successor; (iii) creating, perfecting,
       or otherwise enforcing in any manner, directly or indirectly, any encumbrance of any kind against
19     a Debtor, a Reorganized Debtor, or an estate or any of its property, or any direct or indirect
       transferee of any property of, or successor in interest to, any of the foregoing Persons mentioned
20     in this subsection (iii) or any property of any such transferee or successor; (iv) acting or
       proceeding in any manner, in any place whatsoever, that does not conform to or comply with the
21     provisions of the Plan to the full extent permitted by applicable law; and (v) commencing or
22     continuing, in any manner or in any place, any action that does not comply with or is inconsistent
       with the provisions of the Plan; provided, that nothing contained herein shall preclude such
23     Persons who have held, hold, or may hold Claims against a Debtor or an estate from exercising
       their rights, or obtaining benefits, pursuant to and consistent with the terms of the Plan, the
24     Confirmation Order, or any other agreement or instrument entered into or effectuated in
       connection with the consummation of the Plan.
25
              By accepting distributions pursuant to the Plan, each holder of an Allowed Claim will be
26
       deemed to have affirmatively and specifically consented to be bound by the Plan, including, the
27     injunctions set forth in Section 10.6 of the Plan.

28

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                        (b) Channeling Injunction Applicable to Fire Victim Claims and Subrogation
 1     Wildfire Claims. Upon the Effective Date of the Plan, all Fire Victim Claims shall be channeled to
 2     the Fire Victim Trust and all Subrogation Wildfire Claims shall be channeled to the Subrogation
       Wildfire Trust. The sole source of recovery for holders of Fire Victim Claims and Subrogation
 3     Wildfire Claims shall be from the Fire Victim Trust and the Subrogation Wildfire Trust, as
       applicable. The holders of such Claims shall have no recourse to or Claims whatsoever against
 4     the Debtors, the Reorganized Debtors or their assets and properties. Consistent with the
       foregoing, all Persons that have held or asserted, or that hold or assert any Subrogation Wildfire
 5
       Claim or Fire Victim Claim shall be permanently and forever stayed, restrained, and enjoined
 6     from taking any action for the purpose of directly or indirectly collecting, recovering, or receiving
       payments, satisfaction, or recovery from any Reorganized Debtor or its assets and properties with
 7     respect to any Fire Claims, including all of the following actions:

 8                       (i) commencing, conducting, or continuing, in any manner, whether directly or
              indirectly, any suit, action, or other proceeding of any kind in any forum with respect to
 9            any such Fire Claim, against or affecting any Reorganized Debtor, or any property or
10            interests in property of any Reorganized Debtor with respect to any such Fire Claim;

11                     (ii) enforcing, levying, attaching, collecting or otherwise recovering, by any
              manner or means, or in any manner, either directly or indirectly, any judgment, award,
12            decree or other order against any Reorganized Debtor or against the property of any
              Reorganized Debtor with respect to any such Fire Claim;
13
                        (iii) creating, perfecting, or enforcing in any manner, whether directly or
14            indirectly, any Lien of any kind against any Reorganized Debtor or the property of any
15            Reorganized Debtor with respect to any such Fire Claims;

16                      (iv) asserting or accomplishing any setoff, right of subrogation, indemnity,
              contribution, or recoupment of any kind, whether directly or indirectly, against any
17            obligation due to any Reorganized Debtor or against the property of any Reorganized
              Debtor with respect to any such Fire Claim; and
18
                       (v) taking any act, in any manner, in any place whatsoever, that does not
19
              conform to, or comply with, the provisions of the Plan Documents, with respect to any such
20            Fire Claim.

21      See Section 10.7 of the Plan.

22                3.      Release and Discharge of Debtors

23             Upon the Effective Date and in consideration of the distributions to be made hereunder,
       except as otherwise expressly provided herein, each holder (as well as any representatives,
24     trustees, or agents on behalf of each holder) of a Claim or Interest and any affiliate of such holder
25     shall be deemed to have forever waived, released, and discharged the Debtors, to the fullest extent
       permitted by section 1141 of the Bankruptcy Code, of and from any and all Claims, Interests,
26     rights, and liabilities that arose prior to the Effective Date. The discharge, however, shall not
       extend to any Claims for fires occurring after the Petition Date, including the Kincade fire which
27     shall remain a liability of the Debtors following the Effective Date. In addition, (i) from and after
       the Effective Date neither the automatic stay nor any other injunction entered by the Bankruptcy
28

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       Court shall restrain the enforcement or defense of any claims for fires occurring after the Petition
 1     Date, including the Kincade fire or the Lafayette fire in any court that would otherwise have
 2     jurisdiction if the Chapter 11 Cases had not been filed and (ii) no claims for fires or motion for
       allowance of claims for fires occurring after the Petition Date need to be filed in the Chapter 11
 3     Cases. Upon the Effective Date, all such Persons shall be forever precluded and enjoined,
       pursuant to section 524 of the Bankruptcy Code, from prosecuting or asserting any such
 4     discharged Claim against or Interest in the Debtors.
 5
              H.    Certain Preference Actions
 6
               No Person or Entity (each as defined under the Bankruptcy Code) who received payments as a
 7     result of damages caused by wildfires shall be sued for receiving a “Preference” as that term is defined
       in the Bankruptcy Code.
 8
       V.     VOTING PROCEDURES AND REQUIREMENTS
 9
              A.    Holders of Claims and Interests Entitled to Vote
10
               Under the provisions of the Bankruptcy Code, not all parties in interest are entitled to vote on a
11
       chapter 11 plan. Creditors or interest holders whose claims or interests are not impaired by a plan are
12     deemed to accept the plan under section 1126(f) of the Bankruptcy Code and are thus not entitled to
       vote. Creditors or interest holders whose claims or interests are impaired by a plan, but who receive no
13     distribution under the plan, are also not entitled to vote because they are deemed to have rejected the
       plan under section 1126(g) of the Bankruptcy Code. Under the Plan, there are no classes of Claims or
14     Interests that will receive no distribution.
15            Pursuant to the Plan, the Debtors have, in the aggregate, thirty-four (34) separate Classes of
16     Claims against and Interests in PG&E Corp. and the Utility. Of those Classes, eleven (11) Classes are
       Impaired and are entitled to vote to accept or reject the Plan (collectively, the “Voting Classes”). The
17     Voting Classes are listed below:

18                 Class 5A-I              HoldCo Public Entities Wildfire Claims            Impaired
                   Class 5A-II               HoldCo Subrogation Wildfire Claims              Impaired
19
                   Class 5A-III                   HoldCo Fire Victim Claims                  Impaired
20                 Class 10A-I                     HoldCo Common Interests                   Impaired
                   Class 10A-II             HoldCo Rescission or Damage Claims               Impaired
21                  Class 3B-I               Utility Impaired Senior Note Claims             Impaired
22                 Class 3B-III             Utility Short-Term Senior Note Claims            Impaired
                   Class 3B-IV                    Utility Funded Debt Claims                 Impaired
23                  Class 5B-I              Utility Public Entities Wildfire Claims          Impaired
                   Class 5B-II               Utility Subrogation Wildfire Claims             Impaired
24
                   Class 5B-III                   Utility Fire Victim Claims                 Impaired
25
               The remaining twenty-three (23) Classes are Unimpaired, are presumed to accept the Plan, and
26     are, thus, not entitled to vote to accept or reject the Plan (the “Non-Voting Classes”). For a complete
       summary of the Voting Classes and Non-Voting Classes, see Section III of the Plan.
27

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              B.    Voting Deadline
 1
               All holders of Claims or Interests, as applicable, that are entitled to vote on the Plan, have been
 2
       sent a Ballot together with this Disclosure Statement. Such holders should read the Ballot carefully and
 3     follow the instructions contained therein. Please use only the Ballot that accompanies this Disclosure
       Statement to cast your vote.
 4
               The Debtors have engaged Prime Clerk LLC as their solicitation agent (the “Solicitation
 5     Agent”) to assist in the transmission of voting materials and in the tabulation of votes with respect to
       the Plan. FOR YOUR VOTE TO BE COUNTED, YOUR VOTE MUST BE RECEIVED BY THE
 6
       SOLICITATION AGENT AT THE ADDRESS SET FORTH BELOW ON OR BEFORE THE
 7     VOTING DEADLINE OF 4:00 P.M. (PREVAILING PACIFIC TIME) ON MAY 15, 2020,
       UNLESS EXTENDED BY THE DEBTORS OR FURTHER ORDER OF THE BANKRUPTCY
 8     COURT.

 9            C.    Voting Procedures
10             By order dated, March [], 2020 [Docket No. []] (the “Disclosure Statement and Solicitation
11     Procedures Order”), the Bankruptcy Court, inter alia, (i) approved this Disclosure Statement,
       (ii) approved certain Plan solicitation and voting procedures, and (iii) approved the forms of Ballots,
12     Solicitation Packages, and related notices to be sent to the Debtors’ creditors and equity interest holders
       in connection with confirmation of the Plan.
13
                   1.      How to Vote
14
               The Debtors are providing copies of this Disclosure Statement (including all exhibits and
15     appendices) and related materials and one or more Ballots (collectively, a “Solicitation Package”) to
16     all holders of Claims or Interests, as applicable, that are entitled to vote on the Plan. All such holders
       should complete the enclosed Ballot and return it to the Solicitation Agent or Master Ballot Agent, as
17     set forth in the Ballot so that it is received by the Solicitation Agent before the Voting Deadline.

18                 2.      Withdrawal of Ballots
19            Any voter that has delivered a valid Ballot may withdraw its vote, subject to Bankruptcy Rule
       3018, by delivering a written notice of withdrawal to the Solicitation Agent before the Voting Deadline,
20
       which notice of withdrawal, to be valid, must be (i) signed by the party who signed the Ballot to be
21     revoked and (ii) received by the Solicitation Agent before the Voting Deadline. The Plan Proponents
       may contest the validity of any withdrawals.
22
               Any voter that has delivered a valid Ballot may not change its vote, except in accordance with
23     the Disclosure Statement and Solicitation Procedures Order and Bankruptcy Rule 3018. In the case
       where more than one timely, properly completed Ballot voting the same Claim(s) or Interest(s) is
24     received by the Solicitation Agent, only the Ballot that bears the latest date shall be counted unless the
25     holder of the Claim or Interest receives Bankruptcy Court approval to have the Ballot that bears an
       earlier date counted; provided, however, if a holder of Claim(s) or Interest(s) submits both a paper Ballot
26     and an electronic Ballot (an “E-Ballot”) on account of the same Claim(s) or Interest(s), the E-Ballot
       shall supersede the paper Ballot, unless the holder receives Bankruptcy Court approval otherwise.
27

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                   3.      Inquiries
 1
               If you have any questions about the packet of materials you have received, please contact the
 2
       Solicitation Agent, at (844) 339-4217 (domestic toll-free) or +1 (929) 333-8977 (international) or via
 3     email at pgeinfo@primeclerk.com.

 4            Additional copies of this Disclosure Statement and the Plan are available upon written request
       made to the Solicitation Agent at the following address:
 5
                                  If by standard, overnight, or hand delivery:
 6
                                        PG&E Ballot Processing
 7                                      c/o Prime Clerk, LLC
                                        60 East 42nd Street
 8                                      Suite 1440
                                        New York, NY 10165
 9
              Copies of this Disclosure Statement and the Plan are also available on the Solicitation Agent’s
10     website, https://restructuring.primeclerk.com/pge/Home-Index.
11
       VI.    CONDITIONS PRECEDENT TO CONFIRMATION OF THE PLAN AND EFFECTIVE DATE
12
               There are certain conditions precedent to confirmation of the Plan and the Effective Date, which
13     may be waived or modified, pursuant to Section 9.4 of the Plan, only by the Plan Proponents with the
       consent of the Backstop Parties holding a majority of the Aggregate Backstop Commitment Amount
14     (such consent not to be unreasonably withheld, conditioned or delayed) and, in certain instances, the
       Requisite Consenting Creditors and the Requisite Consenting Fire Claimant Professionals (as such term
15     is defined in the Tort Claimants RSA), without notice, leave, or order of the Bankruptcy Court or any
16     formal action other than proceedings to confirm or consummate the Plan. For more information on the
       conditions precedent to confirmation of the Plan, the conditions precedent to the Effective Date, and the
17     waiver or modification of such conditions, please see Sections 9.1, 9.2, and 9.4 of the Plan, respectively.

18     VII.   CONFIRMATION OF THE PLAN

19               The Bankruptcy Court will confirm the Plan only if all of the requirements of section 1129 of
       the Bankruptcy Code are met. Among the requirements for confirmation are that the Plan (i) is accepted
20     by all impaired classes of Claims and Interests entitled to vote for or against the Plan or, if rejected by
21     an impaired class, that the Plan “does not discriminate unfairly” and is “fair and equitable” as to such
       class; (ii) is in the “best interests” of the holders of Claims and Interests impaired under the Plan; and
22     (iii) is feasible.

23            A.    Acceptance of the Plan
24             Under the Bankruptcy Code, acceptance of a chapter 11 plan by a class of claims occurs when
       holders of at least two-thirds (2/3) in dollar amount and more than one-half (1/2) in number of the
25
       allowed claims of that class that cast ballots for acceptance or rejection of the chapter 11 plan vote to
26     accept the plan. Under the Bankruptcy Code, acceptance of a chapter 11 plan by a class of interests
       occurs when holders of at least two-thirds (2/3) in amount of allowed interests of that class that cast
27     ballots for acceptance or rejection of the chapter 11 plan vote to accept the plan. A vote may be
       disregarded if the Bankruptcy Court determines, after notice and a hearing, that such acceptance or
28

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       rejection was not solicited or procured in good faith or in accordance with the provisions of the
 1     Bankruptcy Code.
 2
               If any impaired Class of Claims or Interests does not accept the Plan, the Bankruptcy Court may
 3     still confirm the Plan at the request of the Plan Proponents if, as to each impaired Class of Claims or
       Interests that has not accepted the Plan (or is deemed to reject the Plan), the Plan “does not discriminate
 4     unfairly” and is “fair and equitable” under the so-called “cram down” provisions set forth in section
       1129(b) of the Bankruptcy Code.
 5
               The “unfair discrimination” test applies to classes of claims or interests that are of equal priority
 6     and are receiving different treatment under the Plan. A chapter 11 plan does not discriminate unfairly,
 7     within the meaning of the Bankruptcy Code, if the legal rights of a dissenting class are treated in a
       manner consistent with the treatment of other classes whose legal rights are substantially similar to those
 8     of the dissenting class and if no class of claims or interests receives more than it legally is entitled to
       receive for its claims or interests. The test does not require that the treatment be the same or equivalent,
 9     but that such treatment be “fair.”
10              The “fair and equitable” test applies to classes of different priority and status (e.g., secured versus
11     unsecured; claims versus interests) and includes the general requirement that no class of claims receive
       more than 100% of the allowed amount of the claims in such class and that the “absolute priority rule”
12     is satisfied (i.e., unless a class of claims of a senior priority are satisfied in full, no junior class can
       receive or retain any property under the Plan). As to any rejecting class, the test sets different standards
13     that must be satisfied in order for the Plan to be confirmed, depending on the type of Claims or Interests
       in such Class. The following sets forth the “fair and equitable” test that must be satisfied if a Class
14     rejects the Plan:
15
                •    Rejecting Class of Unsecured Creditors. Either (i) each holder of an impaired unsecured
16                   Claim in the Class receives or retains under the Plan, property of a value, as of the Effective
                     Date, equal to the amount of its Allowed Claim, or (ii) the holders of Claims and Interests
17                   that are junior to the Claims of the rejecting Class will not receive or retain any property
                     under the Plan.
18
                •    Rejecting Class of Interests. Either (i) each Interest holder will receive or retain under
19                   the Plan property of a value equal to the greater of (a) the fixed liquidation preference or
                     redemption price, if any, of such Interest and (b) the value of the Interest, or (ii) the holders
20                   of Interests that are junior to the Interests of the rejecting Class will not receive or retain
21                   any property under the Plan.

22             The Debtors believe the Plan satisfies the “fair and equitable” requirement with respect to any
       potential rejecting Class. The agencies of the United States of America and the State of California
23     disagree.
24          IF ALL OTHER CONFIRMATION REQUIREMENTS ARE SATISFIED AT THE
       CONFIRMATION HEARING, THE PLAN PROPONENTS WILL ASK THE BANKRUPTCY
25     COURT TO RULE THAT THE PLAN MAY BE CONFIRMED ON THE GROUND THAT THE
26     SECTION 1129(b) REQUIREMENTS HAVE BEEN SATISFIED.

27

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              B.    Best Interest Test
 1
               The Bankruptcy Code requires that each holder of an impaired Claim or Interest either (i) accept
 2
       the Plan or (ii) receive or retain under the Plan property of a value, as of the Effective Date, that is not
 3     less than the value such holder would receive if the Debtors were liquidated under chapter 7 of the
       Bankruptcy Code. This requirement is customarily referred to as the “best interest” test.
 4
               The first step in determining whether the Plan satisfies the best interest test is to determine the
 5     dollar amount that would be generated from a hypothetical liquidation of the Debtors’ assets and
       properties in the context of a chapter 7 liquidation case. The gross amount of Cash that would be
 6     available for satisfaction of Claims and Interests would be the sum consisting of the proceeds resulting
 7     from the disposition of the assets and properties of the Debtors, augmented by the unencumbered Cash
       held by the Debtors at the time of the commencement of the liquidation case.
 8
               The next step is to reduce that gross amount by the costs and expenses of liquidation, the
 9     proceeds received from the disposition of encumbered assets that would be distributed to the holders of
       the liens on such assets, and by the payment of such additional administrative expenses and priority
10     claims arising from the use of chapter 7 for the purposes of liquidation. Any remaining Cash would be
11     allocated to unsecured creditors and interest holders in strict priority in accordance with section 726 of
       the Bankruptcy Code.
12
                The Debtors’ costs of liquidation under chapter 7 would include the fees payable to a trustee in
13     bankruptcy as well as those fees that might be payable to attorneys and other professionals that the
       trustee might engage. Other liquidation costs include the expenses incurred during the Chapter 11 Cases
14     allowed in the chapter 7 cases, such as compensation for attorneys, financial advisors, appraisers,
       accountants, and other professionals for the Debtors and Statutory Committees appointed in the Chapter
15
       11 Cases, and costs and expenses of members of such committees, as well as other compensation Claims.
16     Furthermore, additional Claims would arise by reason of the breach or rejection of obligations incurred
       and leases and executory contracts assumed or entered into by the Debtors during the pendency of the
17     Chapter 11 Cases. The foregoing types of Claims, costs, expenses, fees, and such other Claims that may
       arise in a liquidation case would be paid in full from the liquidation proceeds before the balance of those
18     proceeds would be made available to pay prepetition priority and unsecured Claims, or available for
       distribution to the holders of Interests.
19

20             A chapter 7 liquidation would likely result (i) in the incurrence of increased costs and expenses
       arising from fees payable to a trustee in bankruptcy and professional advisors to such trustee, (ii) in an
21     erosion of asset values in the context of a forced sale or takeover, and (iii) in the substantial increase in
       Claims that would have to be satisfied on a priority basis or on parity with creditors in the Chapter 11
22     Cases. The Debtors believe the liquidation process in chapter 7 would result in a failure to meet the
       June 30, 2020 emergence deadline associated with AB 1054, which could significantly impact potential
23
       values recoverable in a liquidation. Further, the Governor’s office could intervene in a liquidation
24     scenario and develop a plan for takeover by the State of California or certain Northern California
       Counties, which likely would depress the value realized on the Debtors’ assets.
25
               The process of liquidating the Debtors’ businesses in chapter 7 would also be subject to review
26     by numerous regulatory agencies, including the CPUC, the FERC, the Nuclear Regulatory Commission
       and the U.S. Department of Justice, which could delay the process of receiving any significant proceeds
27     for two years or more. In the event litigation were necessary to resolve Claims asserted in the chapter 7
28     case, the delay could be further prolonged and would likely involve further costs.

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              With these factors in mind, the Debtors believe that the value, if any, distributable to each Class
 1     under the Plan, would be equal to, or, more likely, less than, the value of distributions under the Plan,
 2     and such distributions in a chapter 7 case would not occur for a substantial period of time, thus lowering
       the expected value as of the potential chapter 7 conversion date.
 3
               Under the Plan, all funded debt and general unsecured creditors are to be paid in full, with
 4     postpetition interest, their Claims will be reinstated or they will receive new notes. In addition, all Fire
       Victim Claims will be channeled to and satisfied by the Fire Victim Trust in compliance with AB 1054.
 5     Lastly, holders of Interests will retain their shares, subject to dilution. Under these circumstances, and
       where it is patently obvious that a liquidation under chapter 7 could not produce greater value, without
 6
       even taking into account the substantial delay involved in distributing any proceeds, the Debtors believe
 7     that the best interest test clearly is satisfied and that a formal liquidation analysis presentation is not
       necessary or useful.
 8
              C.    Feasibility
 9
               Section 1129(a)(11) of the Bankruptcy Code provides that a chapter 11 plan may be confirmed
10
       only if the Bankruptcy Court finds that such plan is “feasible.” A feasible plan is one which will not
11     likely lead to a need for further reorganization or liquidation of a debtor.

12             As set forth in the financial projections attached hereto as Exhibit B, the Debtors believe that
       the Plan meets the feasibility requirement set forth in section 1129(a)(11) of the Bankruptcy Code, as
13     confirmation is not likely to be followed by liquidation or the need for further financial reorganization
       of the Reorganized Debtors or any successor under the Plan.
14

15            D.    Alternatives to the Plan

16             The Plan has the support of the Debtors, the Shareholder Proponents, the Ad Hoc Subrogation
       Group, the Public Entities, and the Ad Hoc Noteholders Committee. Such parties have determined that
17     the Plan is the best path forward for a successful and timely conclusion to the Chapter 11 Cases. There
       are, however, potential alternatives to the Plan, that include (i) continuation of the Chapter 11 Cases,
18     which could lead to the filing of one or more alternative plans of reorganization, whether by the Debtors
19     or other parties in interest, or a sale of some or all of the Debtors’ assets pursuant to section 363 of the
       Bankruptcy Code, and (ii) liquidation of the Debtors’ assets under chapter 7 of the Bankruptcy Code.
20
                   1.      Continuation of the Chapter 11 Cases
21
               If the Plan is not confirmed, the Debtors (or, if the Debtors’ exclusive period in which to file a
22     plan of reorganization has expired or is terminated with regard to any other party in interest, such other
       party in interest) could attempt to formulate a different plan. Such a plan might involve either a
23     reorganization and continuation of the Debtors’ business, a sale, or an orderly liquidation of their assets.
24
               Alternatively, if the Plan is not confirmed, the Debtors could seek from the Bankruptcy Court,
25     after notice and a hearing, authorization to sell outside of a chapter 11 plan all of their assets under
       section 363 of the Bankruptcy Code. Holders of any secured claims would be entitled to credit bid on
26     any property to which their security interest attaches to the extent of the value of such security interest,
       and to offset their claims against the purchase price of the property. In addition, the security interests in
27     the Debtors’ assets held by holders of secured claims would attach to the proceeds of any sale of the
       Debtors’ assets to the extent of their secured interests therein. Upon analysis and consideration of this
28

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       alternative, the Debtors do not believe a sale of their assets under section 363 of the Bankruptcy Code
 1     would yield a higher recovery for stakeholders than what they would receive under the Plan.
 2
                   2.      Liquidation under Chapter 7 of the Bankruptcy Code
 3
              If no plan can be confirmed, the Chapter 11 Cases may be converted to cases under chapter 7 of
 4     the Bankruptcy Code in which a trustee would be elected or appointed to liquidate the assets of the
       Debtors for distribution to their creditors in accordance with the priorities established by the Bankruptcy
 5     Code. A chapter 7 trustee, who could lack the depth of knowledge of the Debtors’ businesses and the
       complex regulatory environment in which the Debtors operate, would be required to invest substantial
 6     time and resources to become familiar with the Chapter 11 Cases and investigate the facts underlying
 7     the multitude of claims filed against the Debtors’ estates.

 8             As discussed above in Section VII.B, and as will be demonstrated in connection with
       confirmation of the Plan, the Debtors believe that liquidation under chapter 7 could not produce greater
 9     value to stakeholders than those provided for in the Plan because of, among other things, the limited
       market for the Debtors’ assets as a result of the complex governmental regulations the Debtors are
10     subject to, the delay resulting from the conversion of the Chapter 11 Cases to cases under chapter 7 and
11     the sale of the Debtors’ assets in a heavily regulated industry, the additional administrative expenses
       associated with the appointment of a chapter 7 trustee, including associated professionals’ fees, and the
12     loss in value attributable to a liquidation of the Debtors’ assets as required by chapter 7.

13            E.    Notices and Confirmation Hearing
14            Section 1128(a) of the Bankruptcy Code requires the Bankruptcy Court, after appropriate notice,
       to hold the Confirmation Hearing. The Confirmation Hearing is scheduled for May 27, 2020 at
15
       10:00 a.m. (Prevailing Pacific Time), or as soon thereafter as counsel may be heard, before the
16     Honorable Dennis Montali, United States Bankruptcy Judge, in Courtroom 17 of the United States
       Bankruptcy Court for the Northern District of California, 16th Floor, 450 Golden Gate Avenue, San
17     Francisco, California 94102. The Confirmation Hearing may be adjourned from time to time by the
       Debtors or the Bankruptcy Court without further notice except for an announcement of the adjourned
18     date made at the Confirmation Hearing or any subsequent adjourned confirmation hearing.
19
                Section 1128(b) of the Bankruptcy Code provides that any party in interest may object to
20     confirmation of a plan. Any objection to confirmation of the Plan must (i) be in writing; (ii) state the
       name and address of the objecting party and the amount and nature of the Claim or Interest of such party;
21     (iii) state with particularity the basis and nature of any objection or response; (iv) conform to the
       Bankruptcy Rules, the Bankruptcy Local Rules, the Order Establishing Procedures for Disclosure
22     Statement and Confirmation Hearing (N.D. Cal. May 2017) (Montali, J.), and the Order Establishing
       Schedule for Disclosure Statement Approval and Plan Confirmation [Docket No. 5673]; and (v) be
23
       served on the following parties so as to be ACTUALLY RECEIVED no later than May 15, 2020, at
24     4:00 p.m. (Prevailing Pacific Time):

25

26

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15                                                               Los Angeles, California 90025-0509
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18       Milbank LLP                                             United States Department of Justice
         Counsel for the Creditors Committee                     Office of the United States Trustee
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20       Telephone: (212) 530-5000                               Villacorta
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21                                                               Facsimile: (415) 705-3379
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         Akin Gump Strauss Hauer & Feld LLP                            Willkie Farr & Gallagher LLP
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         Attn: Ashley Vinson Crawford
         Telephone: (415) 765-9500
 9       Facsimile: (415) 765-9501
         Email: avcrawford@akingump.com
10
            Objections to confirmation of the Plan are governed by Bankruptcy Rule 9014. UNLESS AN
11
       OBJECTION TO CONFIRMATION IS TIMELY SERVED AND FILED, IT WILL NOT BE
12     CONSIDERED BY THE BANKRUPTCY COURT.

13     VIII. FACTORS TO CONSIDER BEFORE VOTING

14              Prior to voting to accept or reject the Plan, holders of Claims and Interests should read and
       carefully consider the risk factors set forth below, in addition to the other information set forth in this
15     Disclosure Statement, together with any attachments, exhibits, or documents incorporated by reference.
16     The factors below should not be regarded as the only risks associated with the Plan. Documents filed
       by the Debtors with the SEC contain important risk factors in addition to those discussed below which
17     also should be reviewed and considered in voting on the Plan. Copies of any document filed with the
       SEC may be obtained by visiting the SEC website at http://www.sec.gov or by visiting
18     http://investor.pgecorp.com/financials/sec-filings/default.aspx.
19             A.     Business Risk Factors to Be Considered
20
                PG&E Corp.’s and the Utility’s financial results can be affected by many factors, including, but
21     not limited to, estimates and assumptions used in the Debtors’ financial projections, future wildfires,
       legislative and regulatory developments, industry changes and technological developments, and
22     environmental factors. For a detailed description these business risk factors, please refer to the Form
       10-K and other reports filed with the SEC, available at http://www.sec.gov or by visiting
23     http://investor.pgecorp.com/financials/sec-filings/default.aspx.
24
               B.     General Risks Associated with the Bankruptcy Process
25
                    1.       Non-Confirmation of the Plan
26
              Although the Plan Proponents believe that the Plan will satisfy all requirements necessary for
27     confirmation by the Bankruptcy Court in accordance with the Bankruptcy Code, there can be no
       assurance that the Bankruptcy Court will reach the same conclusion. Moreover, there can be no
28

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       assurance that modifications to the Plan will not be required for confirmation or that such modifications
 1     will not necessitate the re-solicitation of votes.
 2
               If the Plan is not confirmed, the Debtors believe that such action or inaction, as the case may be,
 3     will cause the Debtors to incur substantial expenses and otherwise serve only to unnecessarily prolong
       these chapter 11 cases and negatively affect recoveries for holders of claims and interests. Any delay in
 4     confirmation beyond June 30, 2020 will also impair (and may preclude) the Debtors’ ability to
       participate in the Go-Forward Wildfire Fund.
 5
                   2.      Non-Consensual Plan Confirmation
 6
               As discussed above, if any impaired class entitled to vote does not accept the Plan, the
 7
       Bankruptcy Court may nevertheless confirm the Plan at the request of the Plan Proponents if at least one
 8     impaired class has accepted the Plan (such acceptance being determined without including the vote of
       any “insider” in such Class) and, as to each impaired class that has not accepted the Plan, if the
 9     Bankruptcy Court determines that the Plan “does not discriminate unfairly” and is “fair and equitable”
       with respect to the dissenting impaired classes.
10
                   3.      Materially Different Financial Projections
11

12             In connection with confirmation of the Plan, the Debtors, with the assistance of their advisors,
       prepared financial projections for the Reorganized Debtors, attached hereto as Exhibit B, based on
13     certain assumptions. The projections have not been compiled, audited, or examined by independent
       accountants, and the Debtors and their advisors do not make any representations or warranties regarding
14     the accuracy of the projections or the ability to achieve forecasted results.
15             Many of the assumptions underlying the projections are subject to significant uncertainties that
       are beyond the control of the Debtors or Reorganized Debtors including the timing, confirmation, and
16
       consummation of a plan, inflation, and other unanticipated market and economic conditions. Some
17     assumptions may not materialize, and unanticipated events and circumstances may materially affect the
       actual financial results. Projections are inherently subject to substantial and numerous uncertainties and
18     to a wide variety of significant business, regulatory, economic, and competitive risks, and the
       assumptions underlying the projections may be inaccurate in material respects. In addition,
19     unanticipated events and circumstances occurring after the approval of this Disclosure Statement by the
       Bankruptcy Court, including any natural disasters, terrorist attacks, or health epidemics, may materially
20
       affect the actual financial results achieved. Accordingly, the projections and actual results may
21     materially differ.

22            C.    General Risks Associated with the State Legislative and Regulatory Process
23              As discussed above, the Debtors’ business is subject to applicable federal, state and local law
       and the regulatory jurisdiction of various agencies at the federal, state, and local levels. For a detailed
24
       description of risk factors associated with such regulations, please refer to the Form 10-K and other
25     reports filed with the SEC, available at http://www.sec.gov or by visiting
       http://investor.pgecorp.com/financials/sec-filings/default.aspx.
26

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                   1.      Impact of AB 1054 and Required CPUC Review
 1
                For the Utility to be eligible to participate in the Go-Forward Wildfire Fund established by AB
 2
       1054, the CPUC must determine that the plan of reorganization resolving the Chapter 11 Cases,
 3     including the Utility’s resulting governance structure, is acceptable in light of the Utility’s safety history,
       criminal probation, recent financial condition, and other factors deemed relevant by the CPUC.
 4     Although the CPUC’s review of the Plan is underway and the CPUC has expressed its expectation to
       complete that review sufficiently in advance of June 30, 2020, there is risk that (i) the CPUC’s review
 5     will not be completed in time to meet the June 30, 2020 plan confirmation deadline established by AB
       1054, (ii) the CPUC may request revisions to the Plan that would require resolicitation of votes, or
 6
       (iii) the CPUC finds that the Plan does not satisfy the requirements of AB 1054.
 7
                   2.      Other Legislative and Regulatory Developments
 8
               The Reorganized Debtors will be subject to extensive regulations and the risk of enforcement
 9     proceedings in connection with such regulations. The Reorganized Debtors’ financial condition, results
       of operations, liquidity, and cash flows could be materially affected by the outcomes of the CPUC’s
10
       future investigative enforcement proceedings, other known or future enforcement matters, and other
11     ongoing state and federal investigations and requests for information. The Reorganized Debtors could
       incur material costs and fines in connection with compliance with penalties from closed investigations
12     or enforcement actions or in connection with future investigations, citations, audits, or enforcement
       actions.
13
                The Utility is currently, and may in the future be, the subject of state and federal investigations,
14     including investigations in connection with wildfires. In addition, the Reorganized Utility may in the
15     future also be the subject of a number of investigations relating to other matters. If these investigations
       result in enforcement action against or settlements with the Utility or the Reorganized Utility, the Utility
16     or Reorganized Utility could incur or agree to pay additional fines or penalties the amount of which
       could be substantial and suffer further ongoing negative consequences. Furthermore, a negative
17     outcome in any of these investigations, or future enforcement actions, could negatively affect the
       outcome of future ratemaking and regulatory proceedings to which the Utility or Reorganized Utility
18
       may be subject; for example, by enabling parties to challenge the Utility’s or Reorganized Utility’s
19     request to recover costs that the parties allege are somehow related to the Utility’s or Reorganized
       Utility’s violations.
20
               The Reorganized Debtors could be subject to additional regulatory or governmental enforcement
21     action in the future with respect to compliance with federal, state or local laws, regulations or orders that
       could result in additional fines, penalties or customer refunds, including those regarding renewable
22     energy and resource adequacy requirements; customer billing; customer service; affiliate transactions;
23     vegetation management; design, construction, operating and maintenance practices; safety and
       inspection practices; compliance with CPUC general orders or other applicable CPUC decisions or
24     regulations; federal electric reliability standards; and environmental compliance. CPUC staff could also
       impose penalties on the Reorganized Utility in the future in accordance with its authority under the gas
25     and electric safety citation programs. The amount of such fines, penalties, or customer refunds could
       have a material effect on the Reorganized Debtors’ financial condition, results of operations, liquidity,
26     and cash flows.
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              D.    Certain Securities Laws Matters
 1
               The securities described in this Disclosure Statement will be issued (i) pursuant to an effective
 2
       registration statement under the Securities Act or (ii) pursuant to an applicable exemption under the
 3     federal securities laws and any applicable state securities laws, including section 1145 of the Bankruptcy
       Code or Section 4(a)(2) of the Securities Act.
 4
                Section 1145(a) of the Bankruptcy Code generally exempts the issuance of securities from the
 5     registration requirements of the Securities Act and any applicable state securities laws if the following
       conditions are satisfied: (i) the securities must be offered and sold under a plan of reorganization and
 6     must be securities of the debtor, of an affiliate participating in a joint plan with the debtor or of a
 7     successor to the debtor under the plan; (ii) the recipients of the securities must hold prepetition or
       administrative expense claims against or interests in the debtor or such affiliate; and (iii) the securities
 8     must be issued entirely in exchange for the recipient’s claim against or interest in the debtor or such
       affiliate, or principally in exchange for such claim or interest and partly for cash or property. The
 9     exemptions of section 1145(a) do not apply to an entity that is deemed an “underwriter” as such term is
       defined in section 1145(b) of the Bankruptcy Code.
10

11             Any securities issued pursuant to section 1145 (“1145 Securities”) may be freely transferred by
       most recipients after issuance under the Plan, and all resales and subsequent transfers are exempt from
12     registration under the Securities Act and state securities laws, unless the holder is an “underwriter” with
       respect to such securities. Resales of 1145 Securities by entities deemed to be “underwriters” are not
13     exempted by section 1145 of the Bankruptcy Code from registration under the Securities Act or other
       applicable law. Under certain circumstances, holders of 1145 Securities who are deemed to be
14     “underwriters” may be entitled to resell such securities pursuant to the limited safe harbor resale
15     provisions of Rule 144 of the Securities Act.

16              All securities issued pursuant to the exemption from registration set forth in section 4(a)(2) of
       the Securities Act will be considered “restricted securities.” Securities held by an affiliate of the issuer
17     are “control securities.” Restricted securities and control securities may not be transferred except
       pursuant to an effective registration statement under the Securities Act or an available exemption
18     therefrom. Rule 144 provides an exemption for the public resale of “restricted securities” if certain
       conditions are met. These conditions vary depending on whether the holder of the securities is an
19
       affiliate of the issuer.
20
            THE DEBTORS MAKE NO REPRESENTATIONS CONCERNING THE RIGHT OF
21     ANY PERSON TO TRANSFER SECURITIES RECEIVED PURSUANT TO AN EXEMPTION
       FROM FEDERAL AND STATE SECURITIES LAW. ANY PERSONS RECEIVING SUCH
22     SECURITIES UNDER THE PLAN ARE URGED TO CONSULT WITH THEIR OWN
       COUNSEL CONCERNING THE AVAILABILITY OF AN EXEMPTION FROM
23
       REGISTRATION FOR RESALE OF THESE SECURITIES UNDER THE SECURITIES ACT
24     AND OTHER APPLICABLE LAW.

25
              E.    Certain Tax Consequences of the Plan
26
              There are certain U.S. federal income tax consequences of the consummation of the Plan to the
27     Debtors and to certain holders of Claims and Interests. A summary of these consequences is available at
28

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                                                                                                           51



       https://restructuring.primeclerk.com/pge/PlanTaxDisclosure and is fully incorporated herein by
 1     reference.
 2
       IX.    CONCLUSION
 3
               The Debtors, the Shareholder Proponents, the Ad Hoc Subrogation Group, the Public Entities,
 4     and the Ad Hoc Noteholders Committee urge the holders of impaired Claims (Fire Victim Claims,
       Subrogation Wildfire Claims, Public Entities Wildfire Claims, Utility Impaired Senior Note Claims,
 5     Utility Short-Term Senior Note Claims, Utility Funded Debt Claims, and HoldCo Rescission or Damage
       Claims) and Interests (HoldCo Common Interests) to vote to accept the Plan and to evidence such
 6     acceptance by returning their Ballots so that they will be received not later than May 15, 2020, at 4:00
 7     p.m. (Prevailing Pacific Time).

 8            Dated: San Francisco
                     [_], 2020
 9

10                                            Respectfully submitted,
11
                                              PG&E CORPORATION
12

13                                            By:
14                                                  Name: [Jason P. Wells
                                                    Title: Executive Vice President and Chief Financial
15                                                         Officer]

16
                                              PACIFIC GAS AND ELECTRIC COMPANY
17

18                                            By:
                                                    Name: [David S. Thomason
19                                                  Title: Vice President, Chief Financial Officer and
20                                                         Controller]

21                                            SHAREHOLDER PROPONENTS

22
                                              By:
23

24

25

26

27

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                                               Exhibit A
 1
              Debtors’ and Shareholder Proponents’ Joint Chapter 11 Plan of Reorganization
 2

 3                                            [Excluded.]

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                                                   Exhibit B

                                            Financial Projections

Introduction 1

The following income and cash flow statements for the annual periods from January 1, 2020 through
December 31, 2024 (the “Projection Period”) and the balance sheet as of the end of the year for each of
the years 2020 through 2024 for the Debtors (“Consolidated Financial Projections”) are based on
forecasts of operating results during the five-year period ending December 31, 2024. Included below is a
summary of key assumptions to the Consolidated Financial Projections (in each case, the
“Assumptions”). The Consolidated Financial Projections and the Assumptions should be read in
conjunction with the Plan and the Disclosure Statement.

The Debtors, with the assistance of their advisors, have prepared these Consolidated Financial Projections
to assist the Bankruptcy Court in determining whether the Plan meets the feasibility test of section
1129(a)(11) of the Bankruptcy Code.

Other than limited information related to rate base and capital expenditures, the Debtors generally do not
publish their projections or their anticipated financial position or results of operations. Accordingly, the
Debtors do not anticipate that they will, and disclaim any obligation to, furnish updated projections to
holders of Claims or Interests, or to include such information in documents required to be filed with the
U.S. Securities and Exchange Commission (the “SEC”) or otherwise make public such information.

The Consolidated Financial Projections have been prepared by the management of the Debtors, in
consultation with the Debtors’ financial and restructuring advisors, Lazard Freres & Co. LLC and AP
Services, LLC. The Consolidated Financial Projections were not prepared to comply with the guidelines
for prospective financial statements published by the American Institute of Certified Public Accountants
or the rules and regulations of the SEC, and by their nature are not financial statements prepared in
accordance with accounting principles generally accepted in the United States of America.

The Debtors independent accountants have neither examined nor compiled the accompanying
Consolidated Financial Projections and accordingly do not express an opinion or any other form of
assurance with respect to the Consolidated Financial Projections, assume no responsibility for the
Consolidated Financial Projections and disclaim any association with the Consolidated Financial
Projections.

The Consolidated Financial Projections do not reflect the impact of fresh start reporting in accordance
with American Institute of Certified Public Accountants statement of position 90-7, financial reporting by
entities in reorganization under the Bankruptcy Code. The Debtors do not expect to be subject to fresh
start reporting at or following the Effective Date.

The Consolidated Financial Projections contain forward-looking statements that are not historical facts,
including statements about the beliefs, expectations, estimates, future plans and strategies of the Debtors,
as well as forecasts based on our Plan which reflects settlements reached with various parties, regarding
settlement of liabilities in connection with the 2018 Camp fire, 2017 Northern California wildfires and the
2015 Butte fire, the confirmation of the Plan on the Effective Date, the continuing availability of
sufficient borrowing capacity or other financing to fund operations, the Utility’s participation in the

1
 Capitalized terms used but not otherwise defined herein have the meanings given to such terms in the Disclosure
Statement to which this Appendix is attached.



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statewide wildfire fund created by AB 1054, the Debtors’ anticipated sources and uses upon emergence
from Chapter 11, the outcome of regulatory cases and the effect on earnings of such cases, projections of
wildfire-related expenditures, anticipated regulatory and legislative policy, anticipated capital
expenditures of the Debtors, anticipated costs of operations of the Debtors, efficiency initiatives, dividend
payments (both Utility preferred stock and PG&E Corporation common stock), credit ratings and the
various assumptions described in detail below. These statements are based on current expectations and
assumptions, which management believes are reasonable, and on information currently available to
management, but are necessarily subject to various risks and uncertainties. In addition to the risk that
these assumptions prove to be inaccurate, factors that could cause actual results to differ materially from
those contemplated by the forward-looking statements include factors disclosed in PG&E Corporation’s
and the Utility’s annual report on Form 10-K for the year ended December 31, 2019 and other reports
filed with the SEC, which are available on PG&E Corporation’s website at www.pgecorp.com and on the
SEC website at www.sec.gov. Additional factors include, but are not limited to, those associated with the
Chapter 11 cases of PG&E Corporation and the Utility that commenced on January 29, 2019. PG&E
Corporation and the Utility undertake no obligation to publicly update or revise any forward-looking
statements, whether due to new information, future events or otherwise, except to the extent required by
law.

The Consolidated Financial Projections, while presented with numerical specificity, are necessarily based
on a variety of estimates and assumptions which, though considered reasonable by the Debtors, may not
be realized and are inherently subject to significant business, economic, competitive, industry, regulatory,
market and financial uncertainties and contingencies, many of which are beyond the control of the
Debtors. The Debtors caution that no representations can be made or are made as to the accuracy of the
Consolidated Financial Projections or to the Debtors’ ability to achieve the projected results. Some
assumptions inevitably will be incorrect. Moreover, events and circumstances occurring subsequent to the
date on which these Consolidated Financial Projections were prepared may be different from those
assumed, or, alternatively, may have been unanticipated, and thus the occurrence of these events may
affect financial results in a materially adverse or materially beneficial manner. The Debtors do not intend
and do not undertake any obligation to update or otherwise revise the Consolidated Financial Projections
to reflect events or circumstances existing or arising after the date of these Consolidated Financial
Projections. Therefore, the Consolidated Financial Projections may not be relied upon as a guarantee or
other assurance of the actual results that will occur. In deciding whether to vote to accept or reject the
Plan, holders of Claims and Interests must make their own determinations as to the reasonableness of
such assumptions and the reliability of the Consolidated Financial Projections.

These Consolidated Financial Projections were developed for purposes of the formulation and negotiation
of the Plan and to enable the holders of Claims and Interests entitled to vote under the Plan to make an
informed judgment about the Plan and should not be used or relied upon for any other purpose, including
the purchase or sale of securities of, or Claims or Interests in, the Debtors or any of their affiliates.

Use of Non-GAAP Financial Measures

The Consolidated Financial Projections contain financial information based on “non-GAAP core
earnings” in order to provide a measure that allows investors to compare the underlying financial
performance of the business from one period to another, exclusive of non-core items.

“Non-GAAP core earnings” is a non-GAAP financial measure and is calculated as income available for
common shareholders less non-core items. “Non-core items” includes items that management does not
consider representative of ongoing earnings and affect comparability of financial results between periods.
The Debtors use non-GAAP core earnings to understand and compare operating results across reporting
periods for various purposes including internal budgeting and forecasting, short- and long-term operating




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planning, and employee incentive compensation. The Debtors believe that non-GAAP core earnings
provides additional insight into the underlying trends of the business, allowing for a better comparison
against historical results and expectations for future performance.

Non-GAAP core earnings is not a substitute or alternative for GAAP measures such as consolidated
income available for common shareholders and may not be comparable to similarly titled measures used
by other companies.

Select Assumptions for PG&E’s Financial Forecast 2020-2024

The Consolidated Financial Projections contained herein are based on, but not limited to, factors such as
general business, economic, competitive, regulatory, market, financial and environmental conditions, as
well as the assumptions detailed below. Many of these factors and assumptions are beyond the control of
the Debtors and do not take into account the uncertainty and disruptions of business that may accompany
an in-court restructuring. Accordingly, the assumptions should be reviewed in conjunction with a review
of the risk factors set forth in the Disclosure Statement and in the Debtors’ public filings.

General Assumptions
   • In light of the forms of distribution contemplated by the Plan (which include cash as well as new
      PG&E Corporation common stock and the new debt securities of the Utility), the Consolidated
      Financial Projections were developed on a consolidated basis rather than on a separate legal entity
      basis. The Consolidated Financial Projections were developed by management with the assistance
      of the Debtors’ advisors and are presented solely for purposes of the formulation and negotiation
      of the Plan in order to present the anticipated impact of the Plan. No representation or warranty,
      express or implied, is provided in relation to the fairness, accuracy, correctness, completeness, or
      reliability of the information, opinions, or conclusions expressed herein.
   • The Consolidated Financial Projections assume that the Plan will be consummated in accordance
      with its terms and that all transactions contemplated by the Plan will be consummated on June 30,
      2020.
   • The Consolidated Financial Projections assume that the Utility secures an investment grade rating
      from at least one rating agency on the secured debt of the Utility.
   • The Consolidated Financial Projections assume the achievement of various efficiency initiatives,
      including, among other things, resource planning, contract management, monetization of excess
      renewable energy, and real estate optimizations. These efficiency initiatives reduce operating and
      capital expenditures by approximately $1 billion on average through 2024.
   • The Consolidated Financial Projections also assume that: (1) there will be no material change in
      legislation or regulations, or the administration thereof, that would have an unexpected effect on
      the operations of the Debtors; and (2) there will be no change in generally accepted accounting
      principles in the United States that would have a material effect on the reported financial results
      of the Debtors.

Assumptions Underlying Revenue Projections and Cost Recovery
Base Revenue
The Consolidated Financial Projections assume:
   • Base revenues for electric distribution, natural gas distribution and electric generation operations
       are consistent with the Utility’s proposed settlement agreement (the “2020 GRC Settlement”)
       filed on December 20, 2019 with the California Public Utility Commission (“CPUC”) in its 2020
       General Rate Case (“GRC”) for 2020-2022. Spending for wildfire-related programs included in
       the 2020 GRC Settlement associated with system hardening, vegetation management, public



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        safety power shutoffs and excess liability insurance, is anticipated to be well above amounts
        specified, and this incremental spending is recoverable through balancing accounts up to a two-
        year lag. Base revenue for the years 2023 and 2024 assumes an increase in authorized annual
        revenue requirement sufficient to cover the forecasted GRC costs and authorized rate of return.
    •   Formula rates for the recovery of costs for electric transmission facilities are determined by the
        Transmission Owner (“TO”) rate cases with the Federal Energy Regulatory Commission
        (“FERC”). Under the formula rate mechanism, transmission revenues are updated to the actual
        cost of service annually. All prudently incurred transmission wildfire-related costs are assumed
        to be fully recoverable consistent with the formula rate mechanism.
    •   Base revenues for the Utility’s natural gas transmission and storage services are consistent with
        the final decision issued in the Utility’s 2019 gas transmission and storage (“GT&S”) case, as
        approved by the CPUC on September 12, 2019 for 2019-2022. Base revenue for the years 2023
        and 2024 assumes an increase in the authorized GT&S annual revenue requirement sufficient to
        cover forecasted expenses, except for amounts not recoverable. Aggregate GT&S capital
        expenditures of $576 million over the years 2011 through 2014 (the “GT&S Expenditures”) that
        are currently subject to audit by the CPUC are assumed to be approved by the CPUC and restored
        to the Utility’s rate base in 2020. Restoration of the GT&S Expenditures is subject to a
        subsequent CPUC proceeding following the audit. The CPUC has advised the Utility that
        litigation in respect of such proceeding will likely commence in the second half of 2020 with
        resolution occurring in 2021. The impact of this delay may result in a shift of the associated
        earnings available for common stock from 2020 to 2021 and a potential delay in associated cost
        recovery.
    •   Base operating and maintenance expenses excluding wildfire-related costs are forecast to be
        generally in line with the Utility’s settlements and final decisions in its rate cases, including those
        described above.

Incremental Wildfire-Related and Other Costs
The Consolidated Financial Projections assume full recovery of wildfire-related costs currently deferred
as regulatory assets on the balance sheet and additional future spending beyond the programs included in
the 2020 GRC Settlement:
    • Full recovery over the Projection Period of approximately $2.5 billion of costs related to
        restoration, prevention, and insurance that are on the Utility’s balance sheet as deferred costs as
        of December 31, 2019. Interim rate relief and accelerated will be granted by the CPUC allowing
        approximately $1.4 billion of these costs to be recovered in 2020 and 2021 on an accelerated
        basis.
    • Consistent with the Utility’s settlement agreement in the Order Instituting Investigation into the
        2017 Northern California Wildfires and the 2018 Camp Fire (the “Wildfire OII”) submitted to the
        CPUC on December 17, 2019, the Utility will receive no recovery of costs totaling approximately
        $1.675 billion contemplated by the Wildfires OII settlement relating to certain wildfire-related
        costs and shareholder-funded system enhancement initiatives. On February 27, 2020, a Presiding
        Officer’s Decision (POD) was issued in the Wildfire OII proceeding which proposes
        modifications to the settlement agreement (as so modified, the “Revised Settlement”) that would
        add $462 million of disallowances for wildfire mitigation ($198 million) and system enhancement
        initiatives ($64 million), and a payment to the state general fund ($200 million). The Revised
        Settlement, if accepted, is subject to Bankruptcy Court approval. Parties have 30 days to appeal
        the POD. PG&E is still evaluating its options, including appeal. The impact of the modifications
        to the settlement proposed by the POD is not reflected in the Consolidated Financial Projections.
        The impact of the modifications to the settlement proposed by the POD on the Consolidated




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           Financial Projections, if implemented, would be a decrease in earnings available for common
           stock and cashflow in 2020 as it relates to the payment to the general fund. Additionally, the
           proposed disallowed wildfire mitigation and system enhancement costs would impact earnings
           available for common stock primarily in 2020 and 2021, and cash flow impacts from the loss of
           anticipated revenue would be expected to impact future years. The modifications to the settlement
           proposed by the POD, if implemented, would also require any tax savings associated with the
           shareholder payments under the settlement agreement to be applied to wildfire mitigation
           expenses that would otherwise have been recovered from ratepayers when realized. The initial
           settlement of $1.675 billion and the additional $262 million established by the POD are assumed
           to be tax deductible and the resulting tax savings could be as much as $542 million based on the
           company’s 28% effective net tax rate. The realization of these tax savings depend on many other
           variables and the timing of the savings is expected after 2024.

       •   For wildfire-related programs, including wildfire-related inspections and maintenance costs, that
           are in addition to programs requested in the 2020 GRC Settlement, recovery of costs will be
           allowed by the CPUC through memorandum accounts and collected on a three-year lag.
       •   Recovery of incremental capital expenditures in 2020 and 2021 related to implementing
           microgrid-enabling distributed generation, consistent with its proposal for cost recovery
           authorization submitted to the CPUC in connection with the CPUC’s Order Instituting
           Rulemaking regarding microgrids.
       •   Pursuant to the requirements of Assembly Bill (“AB”) 1054, approximately $3.2 billion of fire
           risk mitigation capital expenditures will be excluded from the Utility’s equity rate base and will
           therefore not earn a return on equity. Such expenditures are assumed to be substantially incurred
           over the period from August 2019 through December 31, 2022 and are assumed to be funded with
           debt until securitization bond proceeds are received.

Assumptions Underlying Regulatory and Policy Projections
The Consolidated Financial Projections assume:
   • The Utility’s authorized Return on Equity will be 10.25% (as authorized through 2023 by the
       CPUC in its final decision issued December 19, 2019) throughout the Projection Period. The
       Consolidated Financial Projections also reflect a capital structure that is consistent with the terms
       of the Restructuring Support Agreement (the “Noteholder RSA”) dated January 22, 2020,
       resulting in a weighted-average cost of debt of approximately 4.3% 2 upon PG&E Corporation’s
       and the Utility’s emergence from Chapter 11.
   • Consistent with the terms of AB 1054, an initial contribution by the Utility to the Go-Forward
       Wildfire Fund established thereunder of $4.8 billion upon emergence, to be amortized over ten
       years and ongoing contributions by the Utility to the Go-Forward Wildfire Fund of $193 million
       per year over the Projection Period.
   • The payment of various penalties by the Utility, including general fund payments, shareholder-
       paid initiatives, and agreements not to seek rate recovery for specified expenses pursuant to the
       following Orders Instituting Investigation (“OIIs”):
            • Locate & Mark OII: In February 2020, the presiding officer in this OII issued a decision
                modifying the settlement agreement between the Utility and the CPUC submitted on
                October 3, 2019. Consistent with the terms of the settlement agreement, as modified, the
                Consolidated Financial Projections assume payments and unrecovered expenses by the
                Utility in the amount of $110 million during 2020-2022.


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    Inclusive of amortization of fees.



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           •   Phase II Ex-Parte OII: On December 5th, 2019, the CPUC approved a settlement
               agreement between certain public entities and the Utility pursuant to which the Utility
               agreed to pay an incremental penalty of $10 million. The Consolidated Financial
               Projections assume that this penalty is paid in 2020.
           •   Wildfires OII: As described above, on December 17, 2019, the Utility submitted a
               settlement agreement to the CPUC in connection with the Wildfires OII in which it
               agreed not to seek cost recovery for $1.675 billion of wildfire-related expenditures. The
               Consolidated Financial Projections assume that these costs will not be recovered (See
               above for information related to the February 27, 2020 POD).

Financing Considerations
   • The financing assumptions underlying the Consolidated Financial Projections are consistent with
       the Utility’s testimony filed with the CPUC on January 31, 2020 in connection with the CPUC’s
       Plan of Reorganization OII. The Consolidated Financial Projections assume total sources of
       funding and corresponding uses of approximately $59 billion ($57.65 billion upon emergence), as
       summarized in the following tables:

         Expected Sources (in millions)
         Equity issuance for cash                                               $9,000
         Equity issued into Fire Victim Trust (as defined below)                 6,750
         New PG&E Corporation Debt                                               4,750
         Reinstated Utility Debt                                                 9,575
         New Utility Notes                                                      23,775
         Insurance Proceeds                                                      2,200
         Cash immediately prior to Emergence                                     1,600
         Deferred Wildfire Claims Settlement                                     1,350
         Total Sources                                                         $59,000



         Expected Uses (in millions)
         Payment to holders of wildfire-related claims                         $24,150
         2017/2018 Wildfire Claims Settlement (Deferred Payment)                 1,350
         Contributions to Go-Forward Wildfire Fund pursuant to AB 1054           5,000
         Repayment of Debtor-In-Possession Financing                             2,000
         Pre-petition Debt to be repaid or reinstated                           22,180
         Trade Claims and Other Costs                                            2,300
         Accrued Interest                                                        1,270
         Cash immediately following Emergence                                      750
         Total Uses                                                            $59,000

   •   The Consolidated Financial Projections assume, in connection with PG&E Corporation and the
       Utility’s exit financing, that the CPUC will authorize the exclusion of $6 billion of temporary
       New Utility Notes from the Utility’s capital structure. The Consolidated Financial Projections
       further assume that the CPUC will authorize the securitization of $7 billion of wildfire-related
       claims costs by March 31, 2021 that will be rate-neutral on a net present value basis to customers,




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      the proceeds of which will be used to retire the $6 billion of temporary New Utility Notes and to
      make payments as part of the $1.35 billion deferred settlement to the trust to be established under
      the Plan for the benefit of holders of wildfire-related claims (“Fire Victim Trust”). The
      authorization to securitize $7 billion of wildfire claims on an NPV neutral basis results in a $2.1
      billion charge at inception as a result of an undiscounted regulatory liability associated with
      revenue credits funded by the NOL monetization. Securitization revenues, revenue credits, and
      interest expense on the $7 billion of securitized debt are fully offset by net amortization of the
      securitization regulatory asset and undiscounted regulatory liability.
  •   The securitization proposal reflected in the forecast includes revenue credits of $1.15 billion in
      2021 and $397 million in 2022 that are not funded by NOL monetization. The timing and
      amounts of customer credits are still to be determined and are subject to material change and
      regulatory approval.
  •   The Consolidated Financial Projections assume that the equity commitment premium due under
      the equity backstop letters will equal 119 million shares of PG&E Corporation common stock,
      payable on the Effective Date. Assuming that the Debtors implement the capital structure
      described above by drawing on the equity backstop commitments and based on the Debtors’
      forecasted Normalized Estimated Net Income (as defined in the equity backstop commitment
      letters), the value of the equity commitment premium would be approximately $1.2 billion at the
      currently estimated Backstop Price (as defined in the equity backstop commitment letters). The
      value of the equity commitment premium could exceed this amount in the event that PG&E
      Corporation successfully consummates a marketed equity offering or rights offering in lieu of
      drawing on the equity backstop commitments or if the Debtors implement an alternative capital
      structure, under certain conditions.
  •   The Consolidated Financial Projections assume that the Debtors will face no incremental wildfire
      liabilities related to pre-petition wildfires beyond the $25.5 billion of wildfire-related claims that
      the Debtors have committed as of the date hereof to pay under the Plan pursuant to various
      settlement agreements with the holders of wildfire-related claims. The Consolidated Financial
      Projections further assume the Debtors will not face any liabilities related to postpetition wildfires
      that are not covered by insurance.
  •   Common dividends are assumed to be restored once Utility equity ratio achieves 52% on a
      regulatory basis and are moderated to allow PG&E Corporation debt reduction throughout the
      forecast period. This assumption does not reflect a commitment on the Board or management's
      part to a specific future dividend policy.
  •   The Consolidated Financial Projections assume that additional equity is raised in 2021. This
      financing need may either be met through equity issuance or maintaining Holding Company debt
      levels.




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                                                PG&E Corporation Consolidated
                                  CONDENSED CONSOLIDATED PROJECTED INCOME STATEMENTS
                                                        ($ millions)

                                                                                 2020       2021       2022       2023       2024
INCOME STATEMENT

Net Operating Revenues                                                         15,512    15,408     16,866     18,256     19,028
Memo: Total Cost of Energy                                                      3,400     3,716      3,684      3,450      3,490

Operating Expenses

 Operating and maintenance                                                     (8,807)    (8,869)    (8,700)    (8,921)    (8,972)
 Depreciation, amort. & decommissioning                                        (3,444)    (3,693)    (3,916)    (4,229)    (4,510)
 Net securitization regulatory deferral                                                   (1,083)       265       (137)      (142)
Total Operating Expenses                                                      (12,251)   (13,645)   (12,351)   (13,287)   (13,624)

Operating Income                                                                3,261     1,763      4,515      4,970      5,405

Total Interest Expense                                                         (1,296)    (1,759)    (1,843)    (1,918)    (1,969)

State Wildfire Insurance Fund Contribution and Prepayment Amortization           (672)     (672)      (672)      (672)      (672)

Other Income/(Expense), net                                                    (1,479)     (166)      (166)      (180)      (193)

Income Before Income Taxes                                                       (186)     (834)     1,834      2,200      2,571

 Income tax provision                                                            232        793         24         (73)     (187)

 Preferred dividend requirement                                                   (14)       (14)       (14)       (14)       (14)

TOTAL EARNINGS AVAIL FOR COMMON STOCK                                             32         (55)    1,844      2,113      2,370

Non-GAAP Core Earnings Adjustments
 Bankruptcy and Legal Costs                                                     1,487        28
 Investigation Remedies and Delayed Cost Recovery                                 110        42         48
 GT&S Capital Audit                                                              (191)
 Amortization of Wildfire Insurance Fund Contribution                             484       484        484        484        484
 Net Securitization Inception Charge                                                      1,539
NON-GAAP CORE EARNINGS                                                          1,922     2,038      2,376      2,597      2,854



Forecasted 2021 Normalized Estimated Net Income (“NENI”), as defined in the Backstop Commitment Letter filed
with the SEC on December 26, 2019, excludes the following items that are otherwise included in the presentation
of forecasted 2021 Core Earnings: approximately $55 million related to unrecoverable Gas Transmission and
Storage costs, approximately $45 million related to delayed capital recovery and approximately $20 million of
earnings below authorized amounts. In addition to the adjustments referenced above, NENI includes the post-tax
annual contribution to the Go-Forward Wildfire Fund, which is excluded from Core Earnings.




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                                        PG&E Corporation Consolidated
                            CONDENSED CONSOLIDATED PROJECTED BALANCE SHEETS
                                                ($ millions)

                                                                   2020       2021      2022       2023       2024
ASSETS
Current Assets
 Cash and Cash Equivalents                                          757      1,096       752        677        647
 Accounts Receivable                                              2,788      2,721     2,937      3,166      3,283
 Regulatory Balancing Accounts, net of Liabiltiies (1)              747      1,619     1,677      1,040        743
 Prepaid Expenses, Inventories and Collateral                     1,742      1,836     1,920      1,993      2,057

Total Current Assets                                              6,035      7,272     7,286      6,876      6,730

Net Property, Plant and Equipment                                66,340     71,347    75,809     80,991     85,277
Other Noncurrent Assets
 Nuclear Decommissioning Assets                                   3,291      3,409     3,527      3,645      3,763
 Wildfire Fund Contribution                                       4,320      3,840     3,360      2,880      2,400
 Regulatory Assets and Other                                      8,804      8,551     8,343      8,372      8,568
Total Other Noncurrent Assets                                    16,415     15,800    15,230     14,897     14,730
TOTAL ASSETS                                                     88,790     94,418    98,325    102,764    106,738

LIABILITIES AND SHAREHOLDERS' EQUITY
Current Liabilities
  Accounts Payable                                                2,152      2,140     2,063      2,005      1,986
  Short Term Borrowing                                            1,720      2,000     2,000      2,000      2,000
  Other Current Liabilities                                       1,648      1,853     1,631      1,421      1,350
  Accrued Wildfire Liability (Gross)                              1,350          0         0          0          0
Total Current Liabilities                                         6,870      5,992     5,694      5,426      5,336

Noncurrent Liabilities
 Deferred Income Taxes                                              (320)   (1,112)   (1,148)    (1,084)       (909)
 Long-term debt                                                  37,843     34,690    35,961     36,936     37,061
  Memo: HoldCo Portion of Long Term Debt                          4,750      3,500     3,100      2,900      2,250
 Securitized bonds                                                    0      7,676     8,287      8,864      9,403
 Regulatory Liabilities                                           9,716     11,250    11,527     12,436     13,426
 Asset Retirement Obligations                                     6,002      6,161     6,320      6,320      6,320
 Other                                                            6,099      6,086     6,328      6,673      7,005
Total Noncurrent Liabilities                                     59,340     64,752    67,276     70,144     72,306

Shareholders' Equity
 Total Shareholders' Equity                                      22,328     23,422    25,103     26,941     28,845
 Noncontrolling Interest - Preferred Stock of Subsidiary            252        252       252        252        252
Total Shareholders' Equity                                       22,580     23,674    25,355     27,193     29,097

TOTAL LIABILITIES AND SHAREHOLDERS' EQUITY                       88,790     94,418    98,325    102,764    106,738




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                                                   PG&E Corporation Consolidated
                        CONDENSED CONSOLIDATED PROJECTED STATEMENTS OF CASH FLOWS
                                                 ($ millions)

                                                                               2020      2021      2022      2023       2024
CASH FLOW STATEMENT
Cash Flows From Operations:
 Net Income                                                                        46       (42)   1,858     2,127      2,384
 Depreciation and Amortization                                                 3,439      3,683    3,907     4,219      4,500
 Net Amortization of Securitization Regulatory Assets and Liabilities                    (1,054)    (265)      137        142
 Share-Based Equity Backstop Commitment Premium                                 1,222
 Wildfire Insurance Fund Amortization                                             480      480       480       480        480
 Wildfire Insurance Fund Contribution                                          (4,800)
 Change in Deferred Taxes                                                        (232)     (793)     (36)       64        175
 Changes in Operating Assets and Liabilities                                       52       192     (374)     (340)      (208)
 Change in Balancing Accounts and Regulatory Assets                              (221)    1,452      125       815        479
 Other Noncurrent Assets and Liabilities                                          110        42       39        55         25
 Change in Other Working Capital                                                  155        50       68       (71)       (57)
 Payment of Liabilities Subject to Compromise, net of Insurance Proceeds      (25,547)   (1,350)
 Net Cash from Operations                                                     (25,295)    2,661    5,802     7,485      7,921

Investing Activities:
  Capital Expenditures                                                         (8,086)   (8,140)   (7,730)   (8,702)    (8,015)
  Net Change in Nuclear Decommissioning Funds                                    (118)     (118)     (118)     (118)      (118)
  Proceeds from Asset Sales                                                     1,322         0         0         0          0
  Net Cash Used In Investing                                                   (6,882)   (8,258)   (7,848)   (8,820)    (8,133)

Financing Activities:
  Holding Company Financing                                                   19,850       (100)    (400)     (200)      (650)
  Short and Long Term Utility Debt Issued (Matured/Repurchased)               11,552     (1,626)   1,668     1,172        772
  Securitization Bonds Issued                                                      0      7,676      611       576        540
  Preferred Dividends Disbursed                                                  (42)       (14)     (14)      (14)       (14)
  Common dividends                                                                 0          0     (164)     (275)      (466)
  Net Cash Provided by Financing                                              31,360      5,936    1,701     1,259        182

NET CHANGE IN CASH                                                              (817)      339      (344)       (75)       (30)




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